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         UN ITED STAT ES D ISTRIC T C O U RT SO UTH ERN D ISTR IC T O F FLO RIDA

                                W EST PA LM B EA CH D IV ISIO N

                               CaseNo.18-cv-81104-BB (BLOOM )
                                                                            FILED BY                D.C.

   G R EENW AY N U TR IENT S,IN C.,
                                                                                AF2 18 2219
   a C olorado corp.                                                            Ctkkx
                                                                                    eill'lo s.
                                                                                             Bœ
                                                                                             ccm
                                                                                S.D.OF FLA.-MIAMI

   Plaintiff,v.

   EC O W IN C O .,LTD .;
   JA M E S D .RYA N ;
   M IC H A EL J.RYAN ;
   TH E RYAN LAW G R O UP,LLC.



    PLAIN TIFFS'M O TIO N TO STR IK E D EFEN DA N TS'PLEA D IN G S FO R FR AUD O N
      TH E C O U RT.SPO LIATIO N .A N D A ND A LTE RN ATIVE M O TIO N FO R O TH ER
     SANCTIO NS PUR SUANT TO RULES 26fe)(1).(3)AND 1.540 (a).(b).(1).(2).(3).(4).(5)
      REL IEF FRO M JUD G M EN T.D EC REE S.O R O R D ER S A N D A M O TIO N TO BE
           R ELIE V ED O F PLA IN TIFF'S C O U N SEL'M O TIO N TO W ITH D M W



   COM E NOW thePlaintiffs,GREENWAY NUTRIENTS,INC.(ttGREENWAY'')byandthrough
   its undersigned principalm ove this H onorable Courtforan orderstriking D efendant's pleadings,

   entering default,striking defenses,orsuch otherreliefasthe Courtdeem sappropriate forfraud

   upontheCourt,pursuantto federalrulesofcivilprocedure26(g)(1),(3)AND 1.540 (a),(b),(1),
   (2),(3),(4),45)and am otionto berelieved ofPlaintiff'scounsel'm otion withdraw ascounselof
   record on behalfofG reenw ay on the groundstherefore state asfollow s:
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                                          INTRO DUCTION


   Plaintiffsm oves to seek an evidentiary hearing and sanctionsagainstW ard,D am on,Posner,

   Pheterson& Bleau (élW ardDamon'')andPierceBainbridgeBeckPrice& HechtLLP(içpierce
   Bainbridge'')(collectively,ttplaintiff'sCounsel'')DefendantsJamesD.Ryan(tEJAM ESRYAN'')9

   M ichaelJ.Ryan(CCM IKE RYAN''),andTheRyanLaw Group,LLC.(6ETHE RYAN FlRM'')on
   the grounds thatthe Plaintiff'sform erattorneys and defendantJam esRyan and The Ryan Finu

   have engaged in deception,and attem pted fraud upon the Court,intentionalom issions,and the

   deliberate concealmentofm aterialevidence centralto theplaintiff'sclaim s.ThePlaintiff's

   counsel,inconjunctionwiththeaccusedDefendant'smisconductincludes,butisnotlimitedto,
   the following'
                ,


   * Failure to investigate,and w ellas intentionalom issions ofm aterialevidence,

   * K now ingly providing the courtw ith false and m isleading pleadingsorfilings,

   * W ithholding asw ellasconcealing m aterialevidence,failure to com m unicate,asw ellas

      abandoning the Plaintiff's forrefusing to agree to release defendants Jam es Ryan,M ike

      Ryan,and The Ryan Firm ,from this action entirely contradicting this courtspriornllings.

   * Failure by Plaintiff'scounselto follow through on the prom ise to provide the Plaintiff'sw ith

      an expertw itnessto prepare a reportas to the Plaintiff's uncontested m otion fordefault

      judgementagainstdefendantEcowinCO.LTD.(6EECOW IN'')inadeliberateeffortto
      underm ine as w ellas m inim ize the plaintiff's dam age aw ard again Ecow in by this court.

   * Fraud upon thecourt,pursuantto federalrulesofcivilprocedure26(g)(1),(3)and 1.540 (a),
      (b),(1),(2),(3),(4),(5)
   * Clientabandonm ent



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   Floridacourtshavemaintainedthatifapartyhlesamotionpursuanttorule1.540(b)(3),pleads
   fraud orm isrepresentation with particularity,and show s how thatfraud orm isrepresentation

   affectedthejudgment,thetrialcourtisrequiredtoconductanevidentiaryhearingtodetermine
   whetherthem otion should begranted.Robinson v.Weiland,936 So.2d 777 (Fla.5thD CA Sep
  01,20063.

  Rule1.540(b)providesforreliefthroughanutindependentaction''and ''thisruledoesnotlimit

  thepowerofacourtto entertainan independentactiontorelieveapartyfrom ajudgment,
  decree,order orproceeding orto setaside.Yohanan v.D eclaire,421 So.2d

  55l (Fla.Dist.Ct.App.1982)
  Rule 1.540 protects due process by allow ing aggrieved parties to dispute and potentially obtain

  reversalof''snal''judieialactions,eitherbecauseofinnocentmistakes,such asclericalenors,or
  because of culpable m isconduct,such asnegligence ordeliberate fraud.You don'thave to be a

  partytobenehtfrom Rule l.540.Anyoneadverselyaffectedbyajudicialaction,may flea
  petitionforreversalofajudicialactionunderRule 1.540.
  M oreover,Rule26(g)(3)includesNO .'safeharbor''allowingalawyertocorrectanoffending
  docum entfurtherstating thatthe cour/m ustsanction a lawyerfortiling an im proper

  certifcation.

  Rule26(g)(3)doesnotrequireashowingofLGbadfaith''either.A lawyercanrunintomandatory
  sanctions,w ithoutany safe harbor,foran inadequate investigation oftheirclient's docum ents.

  Brown v.Tellermate HoldingsLtd.,2014 U.S.Dist.LEXIS 90123 (S.D .Ohio July 1,2014)




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                BACKG RO UND AND SUM M ARY OF PLAINTIFF'S CLAIM S




   Priorto engaging Plaintiff'scounsel,Plaintiff'scounselw as repeatedly provided w ith evidence

   thaton oraboutM arch 3,2015,Greenway wassrstcontacted and latermetfaceto facewith

   federallaw enforcem entofficials with the U nited Staes Departm entofHom eland Security

   ($dDHS'')whowerereferredtoGreenwaybyAdobeSystems(6SADOBE'')andTheMicrosoft
   Corporation (ûtM lCROSOFT''').Asevidenced asExhibit#1

   Plaintiff'scounselw as provided w ith evidence thatD H S ofscialshad previously advised

  Greenway thatdefendantsDavid Dragan Selakovic(EASELAKOVIC'')and Steven Blackburn
   (tEBLACKBURN''),and otherscloselyaffliatedwith SelakovicandBlackburn,weretheprimary
  targetsof a m assive ongoing federalcrim inalinvestigation surrounding the unlawfultheft,

  m anufacturing,and distribution ofseveralbillion dollarsw orth ofcounterfeit,grey m arket,or

   unauthorized versionsofAdobe',M icrosoft'and now Greenw ay'brand nam e produd s illegally

  bearing each ofthe aforem entioned com panies valid US tradem arks. A s evidenced as Exhibit

  #2


   Plaintiff'scounselw as provided w ith evidence thatD H S ofscialshad inform ed G reenway senior

  m anagem entthatG reenw ay would be the lead victim in the governm ents crim inalcase against

   Selakovic,Blackbul'n,and otherunnam ed suspects atthattim e.


  Plaintiff'scounselwas provided w ith evidence thatD H S ofscialshad inform ed G reenway that

   Greenway w ould be able to receive com pensatory dam agesand restitution from the m ore than

  twentymilliondollars(tt$20,000,000.
                                    00'')thatDHS,inconjunctionwithUnitedStates
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   Depm mentofJustice(EEUSDOJ'')hadsuccessfully seizedduringfederalcivilassetfodeiture
   proceedings from severalother accused suspects affliated w ith defendants Selakovic and

   Blackburn who had already pled guilty to crim inalcharges in the U S governm ent'ongoing

   criminalinvestigationentitledLGoperadonSoftwareSlashers''.

   Plaintiff'scounseladvised thaton oraboutO ctober28,2016, DH S offcials laterinform ed

   Greenway thatDHS and USDOJofficialswould be unableto lile crim inalchargesagainst

   Selakovic citing thatGreenway would need to return to a federalcivilcourtof1aw to obtain a

   favorable decision overSelakovic,before D H S or USD OJ offcials w ould considerfurther

   investigating orEling crim inalcharges againstSelakovic,Blackburn,and others affiliated w ith

   Selakovic as itrelated to D H S'crim inalinvestigation surrounding the theftofG reenw ay'

   products and businessm odelby the sam e accused defendants in this action.


   Plaintiff'scounselw as provided w ith evidence thatdefendantJam es Ryan isin fact,still

   currentlyrepresentingand defendingDavidSelakovic'initialdefaultjudgementandeventual
   permanentinjunctionthatwasissuedagainstDavid Selakovic,Blackburn,andothersinseparate
   federalcivil-theftand tradem ark infringem entrelated proceedings thatare currently stillin

   progressand being conducted by Adobe System sregarding the sam e type ofaccusationsagainst

   the m ostof the sam e accused D efendantsin this action.SeeAdobe System s Incorporated v.Bea's

   H ive LLC,David Selakovic,Steve Blackburn civilcase num ber 9:l4-cv-8ll02


   Plaintiff'scounselw as also provided with evidence thatthisisN O T the very firsttim e that

   DefendantJam esRyan and The Ryan Firm have defended Selakovic,Blackburn,ortheirrelated

   alter-ego corporate entitiestied to the unlawfultheft,m anufacturing,and distribution ofother

   com paniesbrand nam e com paniesproductsforyears.


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  Plaintiff'scounselw asprovided w ith evidence thatD efendantJam esRyan had previously

  defended SteveBlackburninnolessthantwo (2)separateandmassivefederaltrademark
  infringementproceedingswhereinBlackburnhadalreadyreceivedtwo(2)separatepermanent

  federalinjunctionsthattheM icrosoftCorporationwasabletoobtainoverBlackburn.SeeNo.
  04-4017Microsop Corporation vy.MBC Enterprises,SteveBlackburncivilcasenumber(D.C.
  No.2:00-CV-217-PGC),andM icrosop Corp.v.Big BoyDistributionLLC,589F.Supp.261
  1308 (S.D .Fla.2008)

  On or aboutAugust17,2018,Plaintiff's attorneysW ard,D am on,Posner,Pheterson & Bleau

  (téW ardDamon'')andPierceBainbridgeBeckPrice& HechtLLP(lspierceBainbridge'')

  (collectively,6iplaintiff'sCounsel'')filedsuiton behalfofPlaintiff'Greenway.

  Shortlythereafter,onoraboutSeptember5,2018,Plaintiffs'Counselserved Defendantts)James
  Ryan,M ike Ryan,The Ryan Fil'm .,Vegalab,lnc.,and Vegalab,LLC .


  Thatsam e day,on oraboutSeptem ber5,2018,D efendantJam esRyan responded to Plaintiff's

  Counselsending a scathing em ailthreatening to file a R ule 11 m otion forsanctionsforattorneys

  fees and costsifthe Plaintiff's Counseldid notim m ediately agree to w ithdraw itscom plaint

  againstthe accused defendants thatw asreplete w ith the srstofm any of Jam esRyan',M ike

  Ryan'and The Ryan Erm 'm isleading statem ents,deliberate om issions,ad w ellasuntruthsto

  counseland thiscourtby stating,in part,the follow ing below ;A sevidenced as exhibit#3


   ''Yourallegation thatmybrotherM ichael,vlyyirvlorIeverrepresentedGreenwayNutrients,
     Inc.,(Greenway)isfalse.Thatneverhappened.Nordid h'ceverreceivecn:conM ential
           fzlftlrzzlcfftlzlfrom Greenwakorcrl# other czl/f/# operated :37M n Escam illa.''
                                              .           .




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     Forwhatit's+/,r//,, M vbrotherTom hasneverbeen J mem berorassociate ofzzl1)5r#l.''

   On or aboutSeptem ber 14,2018,Plaintiff's Counselrequested thatthe Plaintiff's provide

   additionalevidence of an attorney-clientrelationship existing betw een Defendants Jam esRyan,

   M ike Ryan,and The Ryan Firm .


   On or aboutSeptem ber 14,2018,G reenway'principalG ustavo Escam illa im m ediately provided

   Plaintiff'sCounselwithanadditionalfourteen(14)exhibitsintheform ofemail
   com m unications by and betw een G reenway and Jam es Ryan,M ike Ryan,and theirbrother

  ThomasF.Ryan(CSTOM RYAN'')whoalsoservedasGreenwayNutrients,lnc.'generalcounsel
   from on oraboutN ovem ber 2010 through Novem berof2012.A sevidenced asexhibit#4


  G reenw ay'Septem ber 14,2018,em ailand exhibits to Plaintiff'sCounselincluded further

   evidence dem onstrating thatan attorney-clientrelationship did,in fact,existby and betw een

  Jam esRyan,M ike Ryan,The Ryan Firm ,as wellas Jam es and M ike Ryan'brotherTom Ryan as

   further described below ;


   l. CopyofGreenway'PrivatePlacementM emorandum (t6PPM '')listingM ikeRyanasattorney
       ofrecord forG reenw ay'PPM .


   2. Copy ofan em aildated M ay 26,20 11,thatw as sentto Steve Blaekburn w ith G reenway'

       attorney M ike Ryan who w asalso copied regarding a potentialinvestm entin G reenw ay'

       business m odel.


       M ike Ryan sending G reenw ay a draftcopy ofthe com panies PPM as wellas advising

       Greenway ofthe United StatesSecuritiesand ExchangeCom missions(ttSEC ''')regulations
       asfarasm aking any public announcem ents.


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      Emailfrom Greenway to M ikeRyan on oraboutJune 11,2010,receiving Greenway'

      conhdentialbusiness inform ation thatM ike Ryan,Jam es Ryan,and Tom Ryan laterused to

      detennine thatG reenw ay'entire business m odelw asvalued atapproxim ately tw enty-sve

      milliondollars($25,000,000.00)atthattime.

      A solicitation letterthatD efendantJam es Ryan sentto his clients gushingly touting

      G reenw ay'PPM and publicly traded entity fonuation strategy as an extraordinary investm ent

      and opportunity and proceeded to offerJam esRyan',M ike Ryan',and Tom Ryan'clients a

      seventeenandahalf(17.5+)percentequitystakeforfourandahalfmilliondollar
      ($4,500,000.
                 00)investmentinGreenway'PPM .

   6. A n em ailthatJam es Ryan sentto hisbrotherTom Ryan regarding G reenw ay'PPM and that

      ifany investm entw asm ade in G reenw ay as a resultofJam es Ryan'orThe Ryan Finu'

      effortsto assistG reenw ay raise capital,thatJam es Ryan and The Ryan Finu w ere to receive

      atenpercent(10+)commissionandtenpercent(10+)instockownershipinGreenway.

      A n em aildated on orabouton oraboutO ctober21,2010,dem onstrating M ike Ryan

      working inconjunction withGreenway'CPA forthepreparationofGreenway'audited
      snancials thatG reenw ay intended on laterutilizing to take Greenw ay N utrients,lnc'

      business m odelpublic.


      A copy ofan em ailthatTom Ryan sentto G reenw ay indicating thatTom Ryan and M ike

      Ryan had received Greenway'initialffty thousand dollar($50,000.00)depositand :ve
      thousand dollar($5,000.
                            00)wiretransfer.




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   Plaintiff'sCounselwasalso repeatedly provided with evidencedemonstrating thatDefendant

   Jam esRyan'law partnerand brothernam ed Tom Ryan,had also lived as a guestin the hom e of

   the Plaintiff's ow ners from on oraboutNovem ber2010 through Novem ber2012,w hile also

   serving asG eneralCounselon behalfofG reenw ay N utrients,lnc.



                     Jam esRvan.M ikeRvanvand theRvan Firm File Sham

                   PleadinesIn An Attem ptTo Deliberatelv M islead ThisCourt




   Curiously,afterDefendantJam esRyan w as presented with m aterialevidence thatentirely

   contradicted Jam esRyan'earlier Septem ber 5,2018,em ailstatem ents to Plaintiff'sCounsel,

  Jam esRyan abruptly changed hisstory ofsupposedly neverhaving previously represented or

   received any confdentialinfonnation from G reenw ay orone ofitsprincipalsG ustavo Escam illa.


   On or aboutO ctober 1,2018,Jam es Ryan and The Ryan Finu filed a m otion to dism iss

   Greenway'claim s on behalfofD efendantsVegalab,LLC ,Vegalab,lnc.,M ike Ryan,Jam es

   Ryan,and TheRyan Firm .(DE 23).

   Included in DefendantJam esRyan'm otion to dismiss(DE 23),JamesRyan proceeded toengage
   in a pattern ofdishonestbehaviorby sling sham pleadings om itting m aterialfactsthatany

   reasonable person should have know n wasbeing presented foran im properpurpose such as to

   increase the costsoflitigation,harass,and delay proceedings stating in part,the following,as

   described in m ore detailbelow '
                                  ,


   '*Ryan fzzw Group.PLLC wtzs'formed in Junet?f2012 and bclltzn doing businessin October

   2012.Thiswcs'the /H /tim eM ichaelAvczlandlames##crlbezanpracticinz law tozethen''



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    ln doing so,JamesRyan intentionally failed to disclose to thiscouftthaton oraboutOctober21,

    2010,a fulltwo (2)yearspriorto thatJamesand hisbrotherM ike Ryan had previously formed
    the legalentity,practiced law together,and were equalpartnersand shareholdersin the 1aw lil'm

    named Ryan & Ryan Lawyers,LLC during thesame timeperiod in question.Asevidenced as

    exhibit.
           #5


    Even worse,Plaintiff's counselw as m ade ofaw are ofJam es and M ike Ryan having previously

    practiced law togetherasRyan & Ryan Law yerssLLC ,yetfailed to protectthe Plaintiff'sbest

    interestsby allow ing DefendantJam es Ryan to brazenly m islead and advise the courtofthe

    following;


    ''CountIV also states in allegation l45 the RYA NS ''disclosed the opportunity to create a

    publicly-traded firm through m ergerw ith a publicly-traded shelllike H PC A cquisitions....'Fhere

    isno allegation thatHPC had everagreed to beacquired by GREENW AY,thatthe RYANS

    knew HPC had agreed to an acquisition by G REENW AK thattheRYANS alleged effortto
                                                               -




    help SELAK OVIC acquire HPC wasuniustiâed ortheGREENW AY suffered anv dam aa:

    bv notpurchasine the com pany for itself.''


    'Tlt(Greenway)alsoattemptstoclaim itwasabreachofadutybytellingSELAKOVIC aboutan
    opportunity to create a ûçpublicly-traded firm through m ergerw ith HPC Acquisitions,Inc.''This

    countincorporatesparagraph 42 w herein G REENW AY allegesStlam es and M ichaelRyan

    insroduced M r.Escam illato Eric Hanson.aM innçsota-based investorwho waspa14ofagronp
    thatowned apublicly-traded shellcompany called HPC Acquisitions.Inc.''(HPC)who discussed

    i4the possibility''of a m erger.''




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   ttM ore importantly,theallegations,iftaken astrue,establish theRYANS disclosed an

   opportunitv to GREENW AY.nottheother wav around.Theallezed opportunitv to m erge

   with HPC isnotalleged to have been owned or pursued llv GREENW AY orthatthis
                                                              .




   particular opportunitv w as som ehow m ore advantazeous than anv other Eçshellcom panv''.

   GR EEN W AY has notpleaded facts from w hich the courtcould conclude the inform ation about

   H PC wasconhdentialor dam ages arising from the disclosure ofH PC 'S availability to another.''


         Plaintiff'sCounselW asOnceAgain.Provided W ith M aterialEvidence Entirely

                 Contradicting Jam esRyan'.M ike Ryan'qAnd The Ryan Firm '

     Oneoine Deception.UnethicalConduct.AsW ellAsSham PleadingsBeforeThisCourt.



   On oraboutJanuary 9,2019,Plaintiff's counselw asonce again,provided w ith m aterialevidence

   entirely contradicting Jam esRyan'false assertions thatJam esRyan and M ike Ryan both

   presented to thiscourtin defendantJamesRyan'initialmotion to dismiss(DE 23)thatPlaintiff's
   Counselintentionally concealed from being disclosed thatincluded,butw asnotlim ited to,the

   follow ing evidence below ;


   O n oraboutJanuary 11,2011,pliorto G reenw ay N utrients.lnc.ever holding any discussions

   regardingapotentialreversemergerwithEricHansonanddefendantVegalab,lnc.(thenHPC),
   Tom Ryan and M ike Ryan had drafted and prepared a non-disclosure/non-circum vent

   (6tGREENW AY-HPC NDNCA'')agreem entthatwasexecuted by and between Greenway
   Nutrients,Inc.and EricHanson who wasrepresentingVegalab,Inc.(then HPC)atthattim e.As
   evidenced asexhibit#6




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   Plaintiff'sCounselwasin possession ofthe Greenway-ilpc NDNCA and knew thatDefendant

   Jam es Ryan,M ike Ryan,and The Ryan Firm continued to engage in dishonesty,yetdefense

   counselfailed to recalland Plaintiff'sCounseldeliberately failed to disclose this m aterial

   evidence thatis centralto the Plaintiff'sclaim s to thiscourt.

   TheGreenway-llpc NDNCA furtherstated thatEric Hanson oranyone afhliated with Vegalab,

   1nc(then HPC)wasnotpermittedtouseGreenwayNutrients,Inc'conhdentialbusiness
   inform ation for any purpose otherthan discussions w ith G reenw ay Nutrients,lnc,including to

   solicitbusiness from or to provide any services orproducts to any otherparty.


   The Greenway-l-lpc N D N CA dem onstrated thatEric Hanson while also acting on behalfof

   Vegalab,Inc(thenHPC)andwiththeknowledgeandassistanceofJamesandMikeRyan,
   proceeded to intentionally move Greenway'opportunity into apotentialreverse mergerdealwith

   Vegalab,lnc(thenHPC)awayfrom GreenwayanddeliveredGreenway'consdentialand
   attorney-clientbusiness relationships and inform ation to Vegalab.SA ,David Selakovic,and

   defendantEcow in instead.


   The G reenway-l-lpc ND N CA also dem onstrated G reenw ay'intentions to create a publicly traded

   entitythrough a reverse mergerwithVegalab,lnc.(then HPC)thatmanufactured,developed,and
   distributed organic plant-based pesticidesand fungicide productsm uch like D efendantsJam es

   Ryan,M ike Ryan,and the Ryan Firm latercom pleted with Eric H ansonsD efendantSelakovic,

   and Ecowin instead.


   M oreover,Vegalab SA and Ecowin'unlaw fulexclusive distribution dated O ctober 19,2012,

    speciscally identified Vegalab,lnc.(then HPC)asa suitable corporatevehiclethatJam esRyan,




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   M ikeRyan,and The Ryan Firm were fully awareofyet,have proceeded to embezzleGreenway'

   conhdentialattorney-clientbusiness inform ation fortheirow n personalsnancialgain and use.


   To com pound the Plaintiff's ongoing m alfeasance concerns,Plaintiff's counselw as also provided

   w ith evidence thatJam esRyan purposely failed to disclosq thatJam esRyan'brotherTom Ryan

   was in fact.an equalpartnerand shareholder in the 1aw fil'm and entity of Ryan and Ryan

   Attorneys.P.A .during the sam e tim e period thatTom Ryan served asG eneralcounselon behalf

   ofGreenw ay N utrients.lnc.thatentirely contradicted Jam esRyan'Septem ber5,2018,em ail

   statem entsto Plaintiff'sC ounseland m ore im portantly,this court.


   A s one ofm any exam ples,notonly did Jam es Ryan and The Ryan Firm intentionally m islead

   yourhonor,Jam esRyan has atbest,attem pted to also hoodw ink Plaintiff's Counseland this

   courtasto the true facts surrounding Jam es Ryan'brother'lbm Ryan having supposedly never

   been associated or a m em ber ofthe law filnn and entity ofRyan and Ryan Attorneys,PA .,in

   whereas Jam esRyan stated:


     GF'orwhatit'sworth,My brotherTom hasneverbeena memberorassociateofmyhrm.''

   Notw ithstanding,Plaintiff'sCounselalso repeatedly being m ade aw are ofTom Ryan practicing

   law w ith his brotherJam es Ryan w hile Tom Ryan served as Generalcounselofbehalfof

   Greenw ay N utrients,lnc.,yet,Plaintiff'sC ounselfailed to disclose the existence ofthe

   GreeI- aJ/-H PC-N D NCA w hile continuing to allow Jam es Ryan and The Ryan Firm to 5le

   m ultiple sham pleadingsallthroughoutthese proceedingscavalierly m aking a fullm ockery of

   this court.




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         PLAINTIFF'S CO UNSELS PROCEEDS TO ADVISE GREENW AY THAT IF
    GREENW AY DlD NOT AG REE TO RELEASE JAM ES RYAN.M IKE RYAN.AND TH E
      RYAN FIRM FROM THIS ACTIO N TH AT PLAINTIFF'S CO UNSEL W O ULD BE
            ABRUN LY W ITHDRAW ING AS COUNSEL O F RECORD ENTIRELY
                  CO NTRADICTING THIS CO URTS PRIOR RULING S



   Notwithstanding the factthatatNO TIM E did Jam esRyan,M ike Ryan,orThe RyanFirm ,ever

   onceprovide Plaintiff'Counselwith any physicalevidencethat contradieted orrefuted anyof

   Greenway'morethanonehundred(100+)plusindividualexhibitsintheform ofemail
   com m unications,distribution agreem ents,and m ostim portantly the G reenw ay-llpc N D NCA

   agreem entthatTom Ryan,asw ellasM ike Ryan did,in fact,draftand prepare on behalfof

   G reenw ay N utrients,lnc.


   On ouraboutM arch 29,2019,Plaintiff's Counselfiled itsm otion to w ithdraw ascounselof

   recordonbehalfofGreenway(DE 99)statinginpart:

   GFollowing theM arch 4,2019 mediadon in thiscaseand thisCourt'sM arch 6,2019 Orderon

   DefaultludgmentProcedureandonM tl/it)zltoStay (DE 923,ordering Plainhy toeither/le
   fordefault/naljudgmentagainstEcowin tlr#/cazlt//fceofjointliability PierceBainbridge
   hascommunicatedextensivelywithPlaint@ regarding strategygoingforwardagainstEcowin
   andlortheRyanDefendants...

   Inthecourseofthosecommunications,ithasbecomeclearthatprofessionalconsiderations
   requiretermination ofplaintW 'sCounsel'srepresentation o-f#lcfrltl
                                                                    ;/./t..

   Further,withdrawalispermittedhereunderRule4-1.16(b).First,withdrawaldoesnot

   materiallyadverselyc#ec/theintereststl
                                        /#/cjzmlF ''


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   Thetruecircum stancessunoundingPlaintiff'sCounseldeciding to inexplicably withdraw as

   counselofrecord on behalfof Greenw ay could notpossibly everbe further from the truth.


   O n oraboutM arch 5,20 19,forreasons stillyetto be explained to the Plaintiffsand this court,

   Plaintiff'sCounselem ailed Greenway advising Greenway thatifGreenway did notagreeto

   im m ediately release defendantsJam esRyan,M ike Ryan,and The Ryan Firm from this action

   thatPlaintiff'sCounselw ould be inexplicably notifying this courtofPlaintiff's Counsel'

   intentionsto w ithdraw alas attorneys ofrecord on behalfofG reenw ay.As evidenced as exhibit

   #7


   Curiously,justafew weekspriorto,onoraboutFebruary l4,2019,thecourtissued anOmnibus
   Order(DE 81)snding thatDefendantsJamesRyan,M ikeRyan,andTheRyanFirm couldbe
   held accountable asto the Plaintiff'stortious intederence and breach ofsduciary duty claim s

   furthernotingthatDefendantJamesRyanhadifagrantlymisquotedthe&w''.

   Plaintiff's Counselwere also in possession of the G reenw ay-H pc ND N CA thatentirely

   undennined D efendants Jam esRyan'fraudulentadm issions before this courtas itrelatesto

   Jamesand M ikeRyan' representing DefendantVegalab,lnc.(then HPC),in directviolation of
   G reenw ay'N D N CA w ith Eric H anson.thatJam esRyan'law partners and brothersTom and

   M ike Ryan them selves,had in fact,drafted on behalfofGreenw ay N utrients,lnc.


   M ore im portantly,Plaintiff's Counselknew or should have know n thatPlaintiff'Counselfailure

   to diselose Jam es Ryan'fraudulentadm issionsbefore this courtoreverproperly advising the

   courtofthe existence ofthe G reenw ay-llpc N D N CA priorto requesting to w ithdraw ing as




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   counseland abandoning Greenway W OULD IN FACT,materially and adversely affectthe

   interestsofG reenw ay.


   Plaintiff'sCounselw ere also m ade aw are of the factthatdefendantJam esRyan,M ike Ryan,and

   theirbrotherTom Ryan,areal1now practicing 1aw outofVegalab,lnc.'corporateoficeslocated

   at636 U S-I#110,N orth Palm Beach,FL 33408.


   Plaintiff'Counselknew thatJam esRyan,M ike Ryan,and The Ryan Firm adm itted to taking pa14

   in discussionsregarding a potentialreverse m ergerbetw een G reenw ay and Eric H anson and

   Vegalab,lnc.,(thenHPC)asevidencedinaemailfrom Tom RyantoEl'icHanson statinginpart,
   asdescribed m ore in detailbelow :As evidenced asexhibit#8


     GE6candNance,Ienjoyeddiscussing whatourcompany,Greenway Nutrientsisdoing...
                            2012 isgoing to be a greatyear...Tom Ryan''


   Plaintiff'Counselw ere provided w ith evidence thatJam es Ryan'law partnersTom and M ike

   Ryan had drafted and prepared the G reenw ay-H PC ND N CA agreem entyet,continued to allow

   Jam esRyan and The Ryan Fil'
                              m to representVegalab,lnc.in the process ofhling num erous sham

   pleadingsegregiously riddled w ith false and m isleading statem entsbefore this court.


    PLAINTIFF'S COUNSELS FIRST PROM ISES.THEN INEXPLICABLY REFUSES TO
       PROVIDE G REENW AY W ITH AN EXPERT W ITNESS W ITHOUT PROPER
   INVESTIGATION O R CO NSIDERATIO N PROVIDED TO PLAINTIFF'S COUNSEL BY
          TH E A C C USED D EFE ND A NT S T H AT R EFU TED A NY O F G REE NW AY '
        VNCP NTESTED M ATERIAL EVIDENCE AGAINST PFFENDANT ECO W JN




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   Plaintiff'sCounselw ould like to m islead yourhonorand thiscourtto believe thatthere is som e

   mysteriousevidencethatwouldsomehow bedetrimentalorprejudieethePlaintiff'sintereststhat
   is a blatantfalsehood thatthe Plaintil 's w holeheartedly welcom es this courtto

   im m ediately conductan evidentiary hearing to review .


   O n oraboutM arch 5,2019,afterreceiving attorney Plaintiff'scounsels em aildem anding

   Greenway release Jam es Ryan,M ike Ryan,and The Ryan Firm from this suit,Plaintiff'ssenior

   m anagem entm etface to face w ith attorney John M .Pierce w ho is G reenway'lead attorney,and

   the com paniesoriginalcontactw ith Pierce Bainbridge.


   During G reenw ay'm eeting w ith John Pierce,Pierce explained thatifG reenw ay would consider

   entertaining releasing D efendantsJam esRyan,M ike Ryan,and The Ryan Finu from thisaction,

   thatPierceBainbridgewouldhireQioneofthebestexpertwitnesses''toassistGreenwaypreparea
   reportto properly assesthe com panies m ulti-m illion dollaruncontested m otion fordefault

   judgementagainstEcowin.

   Greenw ay initially agreed to entertain potentially releasing Jam es Ryan,M ike Ryan,and The

   Ryan Finn,pending the review ofthe proposed release,and m ore im portantly,Pierce Bainbridge

   acquiring an expertw itness to assistG reenway assessthe com panies dam ages againstEcowin.


   On oraboutM arch 12,2019,PierceBainbridgeattorney JonathanA .Sorkowitz,emailed

   Greenw ay requesting thatG reenw ay supply Plaintiff'scounselw ith evidence to support

   Greenw ay'dam ages againstEcow in.


   On or aboutM arch 13,2019.Greenway did in fact,supply Plaintiff'scounselw ith copiesofthe

   com panies2011 and 2012 corporate tax returns.G reenway'CPA contactinfonnation,G reenw ay'




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    2012 nationaldistributioncatalogevidencing the com paniesalready well-established national

    retail,w holesale,and distributorpricing in the m arket.


    G reenw ay also supplied Plaintiff'scounselw ith evidence ofG reenw ay'proprietary trade secret

    dilution and m ixing ratios dem onstrating thatafter Greenw ay reform ulated Ecowin'highly

    concentrated products into G reenw ay'bottlesbearing G reenw ay'tradem ark and N o Pow dery

    M ildew (<ENPM '')productlabel,wasvaluedatapproximatelyeleventhousandfourhundredfifty
    sixdollars($11,456.00)pereachgallonofEcowin'NPM baseconcentrateproducttoGreenway
    in the m arket.


    On oraboutM arch 11,2019,Greenway wasable to demonstratethateach gallon ofEcowin'

    basepowdery mildew productm ade approximately onehundred and twenty eight(128)bottles
    ofNPM productthatretailed foreighty nine dollarsand fifty cents($89.50)each totaling eleven

    thousandfourhundredand sftysixdollars($11,456.00)pergallontoGreenway.Asevideneed
    as exhibit#.
               )


    To com pound the Plaintiff'sconfusion,on or aboutM arch 13,2019,G reenw ay also supplied

    Plaintiff'scounselwith G reenway'newly discovered internationalshipping records

    dem onstrating thatduring the sam e tim e period thatEcow in w ascontractually obligated to

    continue to deliverproducts to G reenw ay,thatEcow in had unlaw fully shipped and delivered

    approximatelyeightthousandeighthundred andeighty ninegallons(8,889)ofEcowin'valuable
    base powdery m ildew productto Selakovic'eom pany FulEllm entSolutions Services,LLC.

    (1tFSS'')instead.




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   ThevalueofEcowin'unlawfulshipmentsto FSS instead ofGreenway wasworth approximately

   one hundred one m illion eighthundred thousand three hundred and eighty fourdollars

   ($101,832.384.00)thattheaccuseddefendantshaveunlawfullyprosted offof.

   Greenway had previously supplied Plaintiff'sCounselwith evidencethattheaccused defendants

   proceeded to continue to illegally prostoffoftheunlawfulsalesofGreenway'NPM productsby

   continuing to illegally m anufacture,distribute,and sellcopiousam ountsofG reenw ay'N PM as

   wellascounterfeitversionsofGreenway No SpiderM ites(4'NSM '')productsbearing Greenway'
   tradem ark through atleastOctober 2016 and withoutany com pensation to Greenw ay.A s

   evidenced asexhibit#10


   On oraboutM arch 13,2019,the Plaintiff'salso questioned Plaintiff'sCounselasto thestatusof

   Greenw ay'expertw itnessthatG reenw ay'lead attorney John M .Pierce had prom ised to provide

   to G reenw ay.


   ltwasatthattim e thatPlaintiff'scounselexplained thatGreenw ay w ould nothave am ple tim e

   to secure an expertw itness to assistG reenw ay assessthe com paniesdam ages given the court'

   limitedtimeframethatGreenway'hadtohleitsuncontestedmotionfordefaultjudgement
   againstEcow in thatw asinitially due on oraboutM arch 20,2019,in spite of attorney John

   Pierce'priorprom ise to do so.A s evidenced asexhibit#11


   ln furtherance ofPlaintiff's counselm isleading and deliberate om issions from being disclosed to

   thiscourt,from on oraboutM arch 14,20 l9,through M arch 28,2019,G reenw ay continued to

   respectfully desperately beg and plead forattonzey John Pierce and Plaintiff's Counsel'to




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    provide Greenway with an actualdollaramountoraward sgure thatPlaintiffscounselintended

    on presenting to the court.


    ln anotherexam ple ofG reenw ay'confusion,isthaton or aboutM arch 14,2019,Greenway

    proceeded to question attorney John Pierce aboutEcowin'uncontested m otion fordefault

   judgementthatJohnPierceavoidedrespondingtoGreenway'inquirybystating,in part:

    iiHeyGus.5/* ,Iam traveling nextfew days,butVthereisissueyou needaddressedright
   awaythatlon.
              S'can'taddress,Iam looping inourGC CarolynnBeckandheadofourzY'
                                                                           y
    offtceDavidHecht.

   O n oraboutM arch 25,2019,after stillnotreceiving any dollaram ounthgures pertaining to

   Ecow in'unlaw fulshipm entofm ore than 8,889 gallonsofEcow in'powdel'y m ildew productsto

   FSS instead ofG reenw ay,the Plaintiff'sonce again,respectfully inquired asto the status of

   Ecowin'uncontestedmotionfordefaultjudgementawardandspecihcally,how Ecowin'
    unlaw fulshipm ents of8,889 gallonsofits base concentrate powdery m ildew productto FSS

    would potentially affectG reenw ay'dam ages againstEcowin.As evidenced as exhibit#12


   O n oraboutM arch 27,2019,Plaintiff's counselproceeded to requestG reenw ay'2013 corporate

   tax returns explaining thatPlaintiff'scounselw ould be unable to provide G reenw ay w ith any

   dollaram ountfgure ordam age aw ard estim ate againstEcow in untilG reenway did so.


   O n oraboutM arch 27,2019,G reenw ay im m ediately responded to Plaintiff's Counsel

   dem onstrating thatPlaintiff'sCounselw asin fact,previously provided w ith G reenw ay'2011 and

   2012 tax records and C PA'contactinform ation on oraboutM arch 13,20 19,and thatifPlaintiff's

   Counselneeded this infonnation im m ediately thatG reenw ay'CPA indicated thatPlaintiff's




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   Counselcould file and an lR S Form 8821 or4506 to acquire those recordson behalfof

   G reenway and w hy have Plaintiff'sCounselnotsim ply contacted G reenw ay'CPA ?


   O n oraboutM arch 25,afterstillnotreceiving any dam age aw ard hguresfrom Plaintiff's

   counsel,G reenw ay once again,attem pted to contactG reenw ay'lead attorney John Pierce

   respectfullybeggingforjustafew momentsofJohnPierce'time,bystating inpart,asdescribed
   in m ore detailbelow :A sevidenced as exhibit#13


   iGsince on or aboutM arch 14,2019,Liza and Ihave been rqpeatedly attempted to reach you

   r-
    eptzrtïïrw Grqenwqy'uncontestedmotionfordçfaultiudgmentagainstdçfendantEcowinthat
   wJy originally due to be subm itted to the courton M arch 20,2019,and is ntpw due on M arch 2*,

   2019,andwchavewcstillhaveyettohearfrom youregardingourconfusionorreceiveyour
   inputandprofessionalassessment.66

   GReasonbeing,onoraboutMarch 7,2019,whenLizaand1metwithyouatyourtplicc,you
   wdrdkindenoughtopromiseusthatGreenwaywould beacquiringtheprofessionalassistanceof
   anexpertwitnesstohelp assessthecompaniesdamagesagainstdefendantEcowingoing
   forwardn''

   lçA -/c
         'w dayslater,on oraboutM arch l2,2019,Jonathan Sorkowitzabruptlyirqformed
   G reenway'senior m anagementthatG reenway would nothave ample tim e to acquire the

   assistanceofan expertwitnessand thatGreenway would have toprovethecompanies

   uncontested damagesagainstdefendantEcowinonourtpwn.'

    GGlhisoversightcouldpotentiallycostGreenwaymillionsofdollarsinfurtherdamages,and
   since then,G reenway'senior managem enthas been attempting to reach you to cure our obvious




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   confusionasitrelatestoJonathan'hduciaryJar.
                                             ytoproperlyassessand maximizeGreenway'
   uncontested dam ages thatthe company m ay be entitled to receive againstEcowin.''


   Férwere wondering Jltlw are wc supposed to assess Greenway Nutrients,Inc'dam ages asa result

   ofEcowin'badfaithconduct?

   O n oraboutM arch 25,2019,attorney John Pierce angrily responded to the Plaintiff'sinnocent

   requestfordam agesby stating,in part,asdescribed in m ore detailbelow :


   'fcarolynn orsomepartneryou need to dealwith this.Iam dosing m assivedealthis week.

   Gus,If/fgcfft?zlisafuidprocess.Itisintellectualcombat.Itisnotconducted vl
                                                                           :lCFA e-mails.
   You need to stop.''


   ''fassureyoufurtherthreatswillnotreceivesucha warm response.''

   ''fam notin themoodforyourtenthousand worde-mailswith multiplefontsbolded with
   underlinesanditalics.Itisjuvenile.''

   efcannotbetheperson dealing with defaultjudgmentprove-up hearings.''

   A dditionally,and m ostim portantly,on oraboutM arch 27,2019,G reenway advised Plaintiff's

   CounselthatGreenway would NOT AG REE TO CONSENT to Plaintiff'sCounsel

   inexplicably abandoning G reenw ay and w ithdrawing as counselof record requesting that

   Plaintiff's Counselim m ediately notify the the courtto setan evidentiary hearing so that

   Gmtnway may have theopportunity to appriseJudgeBloom ofJam esRyan and TheRyan Firm '
                                                              -




   sham pleadingsbefore this court.evidenced as exhibit#14
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   Once again,instead of sim ply responding to oransw ering the Plaintiff's questions,Plaintiff's

   leadsattorney John Pierce proceeded to getabusive and angry by stating,in part.,as described in

   moredetailbelow;Asevidenced asexhibit#15


   GDidn'tItellyoutostop threatening melusandtoleayemeoffyouremails?Idonot
   ''consent''tothat.srF,eewilladheretotheethicalrulesregardlessof whatyouconsentto.
   G : willnotpursue claim s againstpcr/fe.
                                          ç withoutm erit.


   Wcarewithdrawing duetoyourlack ofcooperation andotherissues.CBI,citetherelevant
   provisionsoftheengagementagreement.&a/f/thewithdrawal,p,ewillcondnuetozealously
   representyour interests as required to do underthe ethicalrules.


   Now leavemealoneuntilyouforcemetobedeposedand feml/y
                                                      'attrial.Othereise,Ido not
   wanttoseeyouorhearyournameeven.Thiswillnotbeapleasantexperienceforyou.''

   O n oraboutM arch 28,2019,G reenway then proceeded to kindly respond to attorney John

   Pierce'unjustihedangrychildishoutburstbystatinginpart,thefollowing:Asevidencedas
   exhibit#16


   GGG ood m orning John,


   Jvcdonotunderstand whatyouareattemptingtoconveyorw/lyyoufeeltheneedtogetupset
   with your clientsJohn.

   Ftpl/rresponses to our inquiries are simply unacceptable.

   FtplfareGreenwayNutrients,Inc'leadattorneyand w/zy isitsomehow okayforyoutobetoo
   busy to m ake good on yourprom ises,com m unicate, or respond to yourclient'
                                                                              s inquiries about




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   theconductofM ikeRyan,JamesRyan,orTheRyanfzzw Group,LLC,inourcaseorGreenway'
   questionsasitrelatestothemotionfordefaultjudgmentagainstdefendantEcowinCo.LTD?

   Now wcarefeelingevenmoreabandonedand evenmoreconfusedbecausewcarehavingavcr.v
   dö culttimeunderstanding whatprompted yollto2efsolfp-lcforwith m llrclientsthatwould
   Fcrrczlfkourthreatening to abandon ytlllrclientsand withdraw ascounselofrecord?

   ''Please nrovide your fet'tz/reasoninz to vour in w ritinz behind your wanting to abandon

   GreenwayNutriqsts,Inc..and withdraw ascounselq/rectprl forrç/l/-
                                                                  vf/w to releaseGreenway

   Nutrients.Inc.'formerattorneysJamesRyan.M ikeRyan,ortheRyan Law Group.LLC #t???1this

   Iitikation.W'
               cwtzrlltokrlt?w and areaskingyoutorespond withoutgetting angrytodqfensive.t'

   k.Moreover,onoraboutSeptember5,2018,whenwcinitiallyserveddefendantJamesRyan,
   M ike Ryan,and The Ryan fxzw G roup,LLC .,Jam esRyan wroteyou and Jonathan and a scathing

   letterstating amongstotherthings,thefollowinguntruthsbelow andattachedforyour
   Convel1l*ence . ;'



   ''Yourallegation thatmy brotherM ichael,zlly-/irvlorIeverrepresentedGreenwayNutrients,

   Inc.,(Greenway)isfalse.Thatneverhappened.Nordid weeverreceiveanyconfldential
   informadonfrom Greenway orany othercnff/y operatedbyM r.Escamilla.

   ''Ft?rwhatit'spwr//l, M y brotherTom hasneverbeen a mem berorassociate/./'?rl
                                                                               y/r#l.''

   ln spite ofG reenway'form erattorney Jam es Ryan'obviousdeceit,blatantconnicts ofinterests,

   num erous sham pleadings,as w ellasegregious attorney m isconductthathascontinued to place

   in thisaction,attorney John Pierceproceededto NOT COM M UNICATE OR RESPOND to

   the Plaintiff's M arch 28,20 19,em ailand hascontinued to failto provide G reenw ay w ith any



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   reasonableexplanationorjustifiablelegalbasisasto whyGreenway shouldbecompelledto
   release Defendants Jam es Ryan,M ike Ryan,and The Ryan Firm from thisaction thatis in direct

   coniictwith yourH onor'rulings.


   O n oraboutM arch 29 2019,Plaintiff'Counselproceeded to file its m otion to w ithdraw as

   counselofrecord on behalfofGreenw ay withoutJam esRyan,M ike Ryan,and The Ryan Firm

   everonce providing Plaintiff'sCounselw ith any evidence w hatsoeverthatcontradicted any of

   thePlaintiff'smorethanonehundredplus(100+)individualexhibitsthatPlaintiff'sCounselis
   already in possession ofand withoutperform ing any discovery or taking any depositionsthat

   w as entirely adversarialand to the severe detrim entofG reenway'bestinterests.


   lncluded in Plaintiff'scounsel'm otion to w ithdraw ,Plaintiff'scounselproceeded to m islead this

   courtby stating the follow ing'
                                 ,


   LipursuanttoLocalCivilRule11.l(d)(3),Plaintlff%Counselhasprovided advancenoticeof
   withdrawaltoPlaintt
                     ffandopposingcounsel.Additionally,pertheRule:çrequirement,Plaintt b
   currentm ailing address is 405 South Platte River D rive,D enver,CO 80223.''


   Plaintiff'scounselis entirely aw are thatG reenw ay'operatesoutofBurbank,C alifornia and has

   sentm ailto the plaintiff'sBurbank,California address as late asW ednesday,A pril,3,20 19.


   Plaintiff'scounselknow sthatG reenw ay no longerhasofices located at405 South Platte River

   D rivesDenver,CO 80223,and m ysteriously provided thiscourtw ith false address infonnation

   thatPlaintiff'scounselw asaw are thatG reenway has notresided atthatprevious Colorado

   address since late 2011 thathasbafqed the Plaintiff'sasto w hy.




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   Greenwayhascontinuedto sufferdamages,beadverselyaffected,undulyprejudiced,aswellas
   deprived ofitsrightfulday in court,by Plaintiff's counselwho took advantage ofand later

   abandoned G reenw ay w hile curiously om itting m aterialevidenee surrounding Jam es Ryan and

   The Ryan Firm 'egregious attom ey m isconductthatPlaintiff's counselknew orshould have

   known waspresented foran improperpurpose thathastainted these entireproceedings.


      TH E W ELLrESTABLISH ED CASE LAW SUPPO RTS STRIKING DEFENDANTS'

               PLEADINGS IN TH IS CASE AS A SANCTION FOR M ISCONDUCT

   W here a party deliberately frustrates the discovery process through deliberate om issions.false

   testim ony,conscious concealm entofinfonnation,and relevantevidence,the striking of

   pleadingsand entry of a defaultis w ellw ithin the trialcourt's discretion,even ifthe aggrieved

   party,through diligence orluck,eventually uncoversthe truth.Thisisespecially tnle w here,as

   here,itis the party itself,who is to blam e.ln casesofa party's willfulness and bad faith,Florida

   courtshave consistently afhrm ed the entl'y ofthe m ostsevere sanctions.

   W hile itis anticipated thatPlaintiff's Counselas w ellas D efendantJam es Ryan and The Ryan

   Firm w illactin concertto contend the above described conductw as unintentional,accidentalor

   otherwiseexcusable,anobjectiveassessmentofPlaintiff'scounseland Defendant'smisconduct
   com pelsa :nding thatthis m isconductwas farfrom innocentand has been designed to obstruct

   Plaintiffs'discovery and ability to provetheelem entsofPlaintiffs'case.W orse,Defendant's

   m isconductappears intended to even lead Plaintiffsand the Courtto believe thatJam esRyan,

   M ike Ryan,orThe Ryan Finn neverrepresented G reenway Nutrients,1nc w as,in fact,false

   evidence.




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   W here a party givesfalse inform ation centralto its ow n claim ordefense ora portion ofthat

   claim ordefense,fraud perm eatesthe entire proceedings and the courtshould strike the party's

   pleadings.Hagnerv.Allstate Ins.Co.,867 So.2d 1202 (Fla.5thD CA 20043,
                                                                       .Brown v.Allstate

   Ins.Co.,838So.2d 1264 (Fla.5thDCA 20033,
                                          .Distefanov.StateFarm,846So.2d572(Fla.lst
   DCA),.Hoganv.DollarRentaCar,783So.2d 1211(Fla.4thDCA 20013,
                                                             .Bakerv.Myers
   TractorServices,Inc.,765 So.261149 (Fla.1stD CA 20004,.Carbrezio v.FortuneInternational
   Realty 760 So.261228 (Fla.3d D CA 20003,
                                          .Simmonsv.Henderson,745 So.2611031 (Fla.261
   D CA 19993,.Stavely v.Branton,743 So.261633 (5th DCA 19993,.Desimonev.Old Dominion lns.

   Co.,740So.2d 1233 (Fla.4thDCA 19993,
                                      .Tramelv.Bass,672So.2d 78(Fla.lstDCA 19964,.
   Aoudev.M obilOilCorp.,892 F.
                              2d 1115 (1stCir.1989).SeeAlso Kolinski,Fraud on the Court

   asaBasisforDismissalwith PrejudiceorDefault,78FebFIa.B.J.16(February20044,.and
   Blackwell,The T'Sf# Lie''Contrary to whatyou m ay have H eard on the Evening Ncwl,False

   and M isleading Testimony by a CivilLitigantCan and D oes have Serious Consequences,73 -

   Aug Fla.BJ .20.

   The decision to im pose sanctions,and the choice ofsanctions im posed,m ay be reversed only for

   abuseofdiscretion.U.S.FireIns.Co.v.C ut C scl?
                                                :lySales,lnc.,674 So.261l69 (Fla.3d DCA
   19963.Thatmeansthatan appellatecourtmustaffrm unlessreasonable personscould notdiffer

   with the conclusion thatthedecision isunreasonable.M ercerv.Raine,443 So.2d 944,946 (Fla.

   19834,.Mackv.NationalConstructors,Inc.,666So.2d244(Fla.3dDCA 19963.
   W here a party lies underoath,consciously conceals discoverable infonnation,and intentionally

   destroys relevantitem s,the sanction ofdefaultis necessary and proper even ifdiligence orluck

   pennitstheparty seeking thediscovel'ytoproceed totrialwithoutactualprejudice.Mercerv.
   Raine,443 So.261944 (Fla.19843.See Tramelv.Bass,672 So.2d 78 (Fla.1stDCA 19963,rev.



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   denied,680So.2d426(Fla.19963.SeealsoMendezv.Blanco,665 So.2611149(Fla.3d DCA
   19963.

   lnMercer,theSupremeCourtrejectedtheDefendant'scontentionthatitwasanabuseof
   discretion to entera default''in the absence ofa snding ...thatplaintiffssuffered any undue

   prejudiceduetothedefendant'snoncompliance.'44JSo.2dat945.TheCourtheldthatthe
   sanction w as w ithin the trialcourt's discretion based on evidence thatthe D efendant's violation

   waswillful.Becauseofthewillfulness,theCourtdidnotrequireprejudice
   ln Tram el,the plaintiff soughtdiscovery ofa videotape ofthe eventthatgave rise to the lawsuit.

   The defendantproduced a tape thatithad intentionally altered to delete a dam aging segm ent.

   Theplaintiffcouldnothavebeenprejudiced becausehealreadyhadobtainedanuneditedtape
   from anothersource.

   The trialcourtin Tram elfound the alteration of the videotape w as an intentionalattem ptto

   m islead the plaintiff,the defendant'sow n attorney,and the court.Id.at82.A lthough no specihc

   discovel'
           y orderw as violated,and although the plaintiffcould nothave been m isled,the trial

   courtheld thatithad the inherentauthority to im pose the severestof sanctionsto rem edy that

   frauduponthecourt.Id.TheFirstDistrictagreedandafhrmedthedefaultjudgmentandorder
   strikingtheanswerandafsrmativedefenses.Noprejudicewasrequired.
   Similarly,inV.S.FireIns.Co.v.C ttC sctzI/rySales,Inc.,674So.261169(Fla.3dDCA 1996),
   the Courtafsrm ed a defaultforpersistentfalse denialsthata docum entexisted and refusalsto

   produee it,even though the defendantsnally produced the docum ent.See generally M endez,665

   So.2d at1150 (affinning dism issalwheretheplaintiff''comm itted seriousmisconductby
   repeatedly lyingunderoath during adeposition'').




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    Courts recognize the goalsofpenalizing the offending party and ofdeterring others from future

    m isconduct.''The m ore culpable D efendant'sconduct,the greaterthe sanction thatisrequired.lf

    Defendant'sconductishighlyculpable,thenprejudiceto Plaintlffisnotthefocalpoint.The
   judicialsystem mustbevindicated andlike-mindedpartiesdeterred.''BankAtlanticv.Blyth
   EastmanPaineWebber,Inc.,127F.R.D.224,235(S.D.Fla.lg8gltemphasisadded),affd,12F.
    3d 1045 (11th Cir.1994).

   ln a casecited approvingly in M ercerv.Raine,443 So.2d at945-46,theU .S.SupremeCourt

   recognized the im portance of the goalsofpunishm entand deterrence.NationalH ockey League v.

   M etropolitan Hockey Club,427 U.S.639 (1976).NHL arose outofadismissalforfailure to
   tim ely answ erinterrogatories as ordered.The Suprem e Courtquashed the decision reversing that

   dism issalorder and held:''the m ostsevere in the spectnlm of sanctions ...m ustbe available ...in

   appropriate cases,notm erely to penalize those whose conductmay be deem ed to warrantsuch a

   sanction,buttodeterthosewhomightbetempted tosuchconductintheabsenceofsucha
   deterrent.''ld.at61.
                      3 (emphasisadded).Florida 1aw isinaccord.Tramelv.Bass,672 So.2d at84

   (Fla.1stDCA),rev.denied,680 So.2d426(Fla.1996)citingNHL.SeealsoHeimerv.Travelers
   Ins.Co.,400 So.2d 771,773 (Fla.3:1DCA 1981)(partywasto betipunished forwillful

   misconduct''bystrikingofanswer).

   Florida 1aw asillustrated by Tram eland U .S.Fire pennitsdefaults and sanctionsin the absence

   ofactualprejudicewheretheviolationiswillful.
   Itis settled thatif a party subm its m aterially false evidence in a civilproceeding,whether in

   discovery orattrial,the courthasthe discretion to strike the offending party's claim ordefense as

   asanction.SeeLongv.Swofford,805 So.2d 882(Fla.3dDCA 2001);Leo'sGuvLiquorsv.
   Lakhani,802 So.2d 337 (Fla.3d DCA 2001))Rosenthalv.Rodriguez,750 So.2d 703 (Fla.3d



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   DCA 2000);M etropolitanDadeCtarfnryv.Martinsen,736So.2d794(Fla.3dDCA 1999);
   Hanono v.Murphy,723So.2d892 (Fla.3c1DCA 1998);O'Vaheyv.M iller,G 4 So.2d550(F1a.
   3dDCA 1994);Young v.Curgil,358So.2d 58(Fla.3dDCA 1978).Thesham pleadingrulemay
   also be applicable.See Fla.R .Civ.P.l.150.

   lnRosenthalv.Rodrigues,7505O.2d703(Fla.3dDCA 2000),aplaintiff'sentirelawsuitwas
   dismissedwithprejudiceforconcealingpriorinjuriesinherdeposition.TheAppellateCourt
   concluded thatthe trialcourtdid notabuse itsdiscretion when itexercised itsinherentauthority

   tostrikeherpleadingsanddismisshercausewithprejudice.Courtsthroughoutthisstatehave
   repeatedly held litthata party w ho hasbeen guilty offraud orm isconductin the prosecution or

   defense ofa civilproceeding should notbe perm itted to continue to em ploy the very institution it

   has subverted to achieve herends.'''M etropolitan D ade County v.M artinsen,736 So.2d 794,

   795(Fla.3dDCA 1999)(quotingHanonov.M urphy,7l3So.2d 892,895(Fla.3dDCA 1998));
   seealso Cox v.Burke,706 So.2d43,47 (Fla.5th DCA 1998);O 'Vahey v.M iller,644 So.2d 550,

   551(Fla.3dDCA 1994);Kornblum v.Schneider,609 So.2d 138,139(Fla.4thDCA 1992).

   G iven D efendant's sham pleadings and false and m isleading adm issions in flingspresently

   before thiscourt,D efendant's m isconductw arrants sanctionsby thisCourt.Fraud has perm eated

   these proceedings.N eitherPlaintiffsCounselnorthis Courtcan rely upon the candorand

   veracity ofthisD efendantthatithascom plied in good faith during these proceedings orthatit

   w illdo so in the future orattrial.

   W hile Plaintiffs'counselw as provided w ith evidence ofJam esRyan'and the Ryan Firm 'false

   adm issionsbefore this court,thatisprecious little assurance thatthere is noteven m ore m aterial

   evidence thathasbeen falsised,om itted,discarded,destroyed orw ithheld by Plaintiff'scounsel

   and this Defendant.ltwould notbe an abuse of discretion forthis Courtto use itsinherent



                                                  30
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   authority to im pose sanctions upon Plaintiff'sand D efendants counselunder these

   circum stances.Enough isenough.

                                      PRAYER FOR RELIEF

   W H EREFO RE, Greenw ay m ove this Courtto conductan in-cam era evidentiary hearing fora

   determination oftheseissues,imm ediately reinstatePlaintiff'scounselasattorney ofrecord on

   behalfoffthe Plaintiff's with properm onitoring and under the sam e tenusofPlaintiff's counsel

   originalretaineragreem ents or alternatively im pose sanctionsdeem ed appropriate by the Court.




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                                 CERTIFICATE OF SERVICE

   l HER EBY CERTIFY thata true and correctcopy of the foregoing has been furnished,by e-

   m ail,this 16th day ofApril,20 19,to:John M .Pierce,Esq.,355 S.G rand Avenue,44th Floor,

   LosAngeles,CA 90071,ipierce@ piercebainbridge.com .Jonathan A.Sorkowitz,Esq.,277Park

   Avenue,45thFloor,New York,NY 10172,jsorkowitz@piercebainbùdge.com,RonaldS.
   N isonson,Esq.,4420 Beacon C ircle,W estPalm Beach,Florida 33407-328l,

   m isonson@ w arddam on.com .Jam es D .Ryan,636 U S H ighway O ne,Suite 110

   NorthPalm Beach,Florida33408,jdr@ryanlawgroup.net.




                                                     /s/Gustavo Escam illa

                                                     G ustavo Escam illa
                                                     G reenw ay N utrients,Inc.
                                                     Principaland adversely affected party to this
                                                     action
                                                     135 EastO liveAve,#4103
                                                     Burbank,CA .9 1503
                                                     Phone:(818)355-0062
                                                     Fax:(818)263-1845
                                                     Email:gescamilla@ymail.com
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                      E xhibit l
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                                                       ed 10/12/17 Page30 of73 Page ID #:30




        - #,Hle cope ro
        F-m: *stlarez Cae *<'Cadosxsuarez@te.dhs.e x
          T@: M- camilia@ yrnail.comëKw scamilla@ymail.com>
                                                                                                             PulF6eadqesPeqtal),e4ekv

        Mr.Escamilla!
        1wasgivenyx rinfr atiY W representativ- withAtklbeSystemsaritheMicrosdtCccm tion.Ifit:11KssiNe,lwouldllietocore tan
        intervi- e hyoueil* ron3/2/2015(>'W 2015,cor<erningtbeinfr ationyouifxluœ inanemail&entonOcte r5,2014,loMiche lA.
        SirtkalhisM aile ess,MsifA@e inscoie.cœn.WehaveacNminalinvestigationcsenoutaftheKansaa CityOfficearè l+iIoniybein
       t- onte dayslrKytedae e.
        Iattemlpdtoe eyœ amessv onthe#xmeIiste ontheemail(8$1355.G*2).butwhen1tdeditttxkay.itseemstob* disconnected. My
        cfmtr tinformationi
                          s liste beiow. Pfeasereachtmtto meatyoureadiestcr eniencesowecansetatimeanddate.
        Thanks,
        Car*@ Suarez
        :- ialAN
        h'brnelard SectzHtylnvestigations
        1451Ka'tsas City
        Office(816)K2.K*6
        > 1(816)9144959
        Ee ail:Cados.suarezt
                           :dbs.cx)v
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                      E xhibit 2
  Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 36 of 105

On Monday,August6,2018 7:20AM,JonathanSorkowitz <l
                                                 esorkowitz@ piercebainbridgeacom>
w rote:



G us:

W e appreciate yourenthusiasm to gatherdocum entation forthe case,butplease
Ieave the externalcom m unications to us. There's an established procedure for
getting documents from the federalgovernment(through the Freedom ofInformation
Act)thathasto be followed (and itdoesn'tinvolve the Crime Victims'Act).Also,our
engagem entw ith you doesn'tcover representation regarding the D HS investigation'
                                                                                 ,
we only representyou in the civilcase againstSelakovic. W e'lllaunch a FO IA
requestatthe appropriate tim e ifitIooks Iike the Adobe issues are going to be
germ ane.

It's im portantthatw e presenta united frontto the outside w orld,so please don't
contactopposing parties orcounsel,otherparties/w itnesses involved in the case,or
DHS withouttalking to usfirst. Irealize the gearsofjusticeturnslowlyand youwant
to m ove things forw ard,butit's essentialto a functionalattorney-clientrelationship
thatyou Ietus handle this part. In this vein,I'm going to send a very briefem ailto
DHS justexplaining ourrepresentation ofyou and putting them onthe Iookoutfora
potentialFO IA requestin the future.

Lastw eek w e Ieftoffw ith a discussion ofthe claim againstthe Ryans vis-à-vis the
2013 Colorado com plaint. W e're stilldeterm ining w hetherthe C olorado com plaint's
allegations w illbe considered conclusive w hen we file ournew claim ,orifthey're
m erely contrary evidence that'llbe usable by the otherside. Should have an answ er
in the nextday ortwo,w hich w illclarify how w e go forw ard in D istrictCourtin Florida
againstthe Ryan brothers. Ihope to file the com plaintthis w eek afterthatdecision
is m ade.

Thanks,

Jon

From :G ustavo <gescam illa@ ym ail.com >
Sent:M onday,A ugust6,2018 6:56 AM
To:shaw n.gibson@ dhs.gov
C c:Jonathan Sorkow itz <l
                         'sorkow itz@ piercebainbridge.com >'
                                                            ,John Pierce
<l
 'pierce@ piercebainbridge.com > ,
                                 'Liza Haworth <azilcorpl@ gm ail.com >
Subject:Greenway Nutrients,Inc.-David Selakovic -Vegalab,emailserver
evidence.
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August6,2018

DH S - IC E IHom eland Security Investigations-Dom estic O perations
Attn:Shaw n G ibson O perations M anager
500 12th StreetSW ,6th FloorMS-5106 (6161)
W ashington D .C .20536
em ail-shaw n.gibson@ dhs.gov

Re:G reenw ay Nutrients,Inc. David Selakovic -Vegalab em ailserver
                                -


evidence.

DearM r.G ibson,

W e hope thatyou are in good spirits and things are continuing to go very well
foryou sir.

W e are very happy to reportthatGreenway Nutrients,lnc.(''GREENW AY'')
has recently engaged the high-stakes com m ercialIitigation pow erhouse in
Pierce Bainbridge Beck Price & HechtLLP,(''pierce Bainbridge'')in orderto
seek civildam ages againsta pairofW estPalm Beach Florida area based
businessman named David Selakovic (''SELAKOVIC'')and Steve Blackburn
(''BLACKBURNI'),and Selakovic'related corporate entities thatwe were Iedto
believe thatyouragency stillcurrently has an active and ongoing felony
crim inalinvestigation stillcurrently open on and underw ay.

Pierce Bainbridge Continues Explosive G row th w ith Addition ofElite C rim inal
Defense Law yer

Itis also ourunderstanding thaton oraboutsom etim e around January -
February 2015,Adobe System s (''ADOBE'')Iaterturned overand
provided youroffice and the U nited States Departm entofHom eland
Security('IDHS -ICE'')withseveralemailserversaswellas
apyroxlmatelyfiftythousand (50,000)pagesofemailcommunication
evldence thatw ere retrieved during a civil-raid thattook place on orabout
sometime in Iate Augustorearly Septemberof2014 by Adobe,in conjunction
w ith US FederalM arshall's ofsuspects Selakovic'and Blackburn'W estPalm
Beach Florida w arehouse facilities. relevant evidence or inform ation thatyOu
feelm ay assistG reenw ay w ith its upcom ing civilsuitagainstthe accused
defendants in our case accordingly.
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Pursuantto 18 U.S.C.9 3771ofThe Crim e Victim s Rights Act,G reenw ay
respectfully requests thatany and aIlem ailcom m unication evidence thatyour
office and D HS has previously received from Adobe orduring youragencies
crim inalinvestigation ofG reenw ay'asserted theft-related claim s against
suspects Selakovic,Blackburn,orSelakovic'related corporate entities that
referencets)Greenway,orany ofGreenway'corporate officers in any
capacity be im m ediately turned overto Pierce Bainbridge in orderso that
G reenw ay m ay be afforded to ability to utilize any em ailcom m unication
evidence thatm ay assistG reenw ay to recoversom e ofthe m illions ofdollars
in ongoing financialIosses during the com panies upcom ing federalcivilsuit
thatPierce Bainbridge w illbe initiated on the com panies behalfin com ing
w eeks.

G reenw ay is also respectfully requesting thatany and aIIrelevanteyew itness
testim ony,evidence,orinform ation thatyou feelm ay assistthe courtto suss
0utany ofthe accused defendant's participation and overallculpability in our
m atterbe turned overPierce Bainbridge atyourearliestconvenience.

G oing forw ard and because w e are in a Iittle overourheads and do notdo
this type ofthing every day fora Iiving M r.G ibson w e are honestly unaw are
as to precisely how the crim inalcom plaintprocess w orks ordiffers from the
civilcom plaintprocess ,therefore G reenw ay did notw antto evertrouble or
involve M r.Sorkow itz,M r.Pierce,orPierce Bainbridge w ith this side ofthings
and only to the extentthatG reenw ay and m yselfare seeking to acquire any
relevantevidence orinform ation thatyou feelm ay assistG reenw ay w ith its
upcom ing civilsuitagainstthe accused defendants in ourcase accordingly.

Pierce Bainbridge'contactinform ation is below :

John M .Pierce
M anaging Partner
tel:(213)262-9333 x101
jpierce@ piercebainbridge.com
Jonathan A .Sorkow itz
Padner
0 :(213)262-9333 x115
jsorkowitz@ piercebainbridge.com
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Thank you,M r.G ibson,and w e are very hopefulthatourcontinued prayers
and w ellw ishes on yourbehalfcontinue to go w ellreceived.

Respectfully subm itted,

G ustavo Escam illa
President
G reenw ay N utrients,Inc.
135 EastO live Avenue #135
Burbank,CA .91503
(818)355-0062 direct
O n Friday,O ctober28,2016 6:38 A M ,''G ibson,Shaw n S''
<shaw n.s.G ibson@ ice.dhs.gov> w rote:

M r.Escam illa,

W e have researched yourclaim s and consulted w ith the U nited States
Attorney's O ffice,W estern D istrictofM issouriand w hile w e sym pathize w ith
yoursituation,w e have been advised thaton August 17,2015 a DistrictCourt
found in favorofSelakovic againstG reenw ay Nutrients in regards to the
assertion ofthe G reenw ay tradem ark. W hile we understand thatyou m ay
disagree with this judgement,ouragency is bound by decision ofthe court
and thereforare restricted on w hatw e can do in regards to yourclaim s that
they continue to sellyourproducts illegally. M y suggestion is to seek Iegal
alternatives such as an appealofthe decision and ifyou should receive an
affirm ative decision w e can revisitourinvolvem entagainstthe distribution of
the G reenw ay products. Regardless,w e continue to investigate the alleged
crim inalactivities in regards to his alleged distribution ofcounterfeitsoftw are.

Please Ietm e know ifyou have any questions.

Shaw n G ibson lO perations M anager
DHS - IC E IHom eland Security Investigations-Dom estic O perations
500 12th StreetSW ,6th FloorMS-5106 (6161)IW ashington D.C.20536
em ail-shaw n.gibson@ dhs.gov

W ith honorand integrity,w e w illsafeguard the Am erican people,our
hom eland,and our values.
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                      E xhibit 3
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 41 of 105




   From :Jam es Ryan
   Sent:W ednesday,Septem ber5,2018 6:30 PM
   To:'rnisonson@ warddam on.com 'j
                                  ''am oretto@ warddam on.com '
    Cc:'cdamon@warddamon.com';'  jpierce@ piercebainbridge.com''
                                                               ,
    '
    jsorkwitz@piercebainbri
                          dge.com'
    Subject:Greenwayv.Selakovicetal
    DearMessrs.Nisonson and Moretto,

   lam in receiptofyourcom plaintand Iw antto be clearIam going to be very shorton the
   curtesy Iextend before lbegin pursuing sanctions.You note in paragraph 101 Ofyourcom plaint
   you are aware ofthe dism issalofthe 2017 Action.YOu should also know thatbecause thatorder
   doesnotdayitiswithoutprejudice,itiswithprejudice.See Rule41(b).
    IfIam required to seek sanctions underRule 11 on behalfofM essrs.Selakovic and /or
   Blackburn;VegalabLLC;FulfillmentSolutionsServices,lnc.(sicâ(Fulfillmentl;New EpicMedia,
    LLC ;or,Suprem e G rowers,LLC itw illbe in partbecause yourclient's claim s have been
   adjudi
        cated onthemeritsbyreasonoftheinvoluntarydismissalandthoseclaimsarebarredby
   the doctrine ofRes Judicata.

   Yourallegati
              on thatm y brotherM ichael,m y firm orIeverrepresented G reenway Nutrients,Inc.,
   (Greenway)isfalse.Thatneverhappened.Nordidweeverreceiveanyconfidentialinformation
   from G reenway orany otherentity operated by M r.Escam illa.

   The Ecow in ddcontract''attached to yourcom plaintis nOtsigned by Ecowin.1am inform ing you
   thatthe allegation thatG reenw ay had such contractis false.

   Vegalab,lnc.,(Vegalab)wasnotinthepesticidebusinessuntil2016whichwasIong after
   G reenway ceased doing business.You do notand neverwillhave any evidence to supportyour
   claim thatVegalab tortuously interfered w ith any relationship betw een yourclientand Ecow in
   and /orthatitis oreverinfringed on any Greenway markts).Despite the existence Ofm anyOf
   these defendants w hen G reenway was in business,yOu w illalso neverbe provided w ith
   credible evidence ofany infringem entofa G reenw ay m ark by any ofthem .

   The truth is M r.Escam illa has been a m iserable failure ateverything he has attem pted to do.
   Theonetime Imethim inpersonwaswhen hewasin 2010whenhewasjustgettingreadyto
   startG reenw ay University.He walked us through the building thatwould becom e its cam pus.
   The tourIasted about30 m inutes.Atthe tim e itwas to becom e the only schoolin the U.S.with a
   stateaccreditationto teachaboutmedicalmari
                                            juana.IIostaIIconfidenceinhim whenthe
   accreditation was revoked as a resultofhis failure to disclose his felony conviction on the state
   application.

   As foryourclient,itcontracted Fulfillm entto purchase bottle and ship Ecowin products under
   G reenway's label.Then itfailed to pay the billand Fulfillm enthad to liquidate the rem aining
   inventoryto mitigate itsdamages.Lateritsuedand obtainedajudgmentinthe amountof
   $94,077.73 On October7,2014 thatremains unsatisfied.In anticipation yourfirm has required
   yourclientto pay a retainerlw illbe serving yourfirm with a writofGarnishm ent.lwillalso be
   servingyourclientwitha writofexecutionto take ownershipofyourclient'smarkls)andits
   claim ed causes ofaction.
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   Ihaveattached acopyofJudge Mara'sorderofdismissalandthe referencedjudgementfor
   yourconvenience.

   Ihave also attached an em ailsentby M r.Escam illa in 2015 thatthreatened action againstthe
   Florida Barbecause he was nothappy with theirresolution ofhis Barcom plaintagainstmy
   brotherTom .Forwhatit' s wodh, M y brotherTom has neverbeen a m em berOrassociate ofm y
   firm.Thisemailisjustoneofmanyexamplesofbad behavi
                                                   orbyyourclient.
   1am available to discuss any oraIlofthis by phone orin person.

   Thank you in advance foryourconsideration ofthis inform ation.

   Sincerely,


   Jam es D.Ryan,Esq.
   Florida BarBoard Certified in Business Litigation
   idr@ rvanlawgroup.net mobile: 561.889.1001
   Ryan Law G roup,PLLC
   636 US Highw ay O ne,Suite 11O
   North Palm Beach Florida
   M ain: 561.881.4447 Fax: 561.889.4461
   ww w.ryanlawgroup.net
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                     E xhibit 4
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 44 of 105




   On Friday,September14,20183:33PM,Gustavo <gescamilla@ ymail.com>wrote:

   Septem ber14,2018,
   Re; G reenway Nutrients,Inc.v.Selakovic etaI.
       U.S.DistrictCourtS.D.Fla.lndex No.9:18-cv-81104-BB

   Good afternoon Jon,
   Thank you very m uch forthe em ailand foradvising us ofJam es Ryan and The Ryan Law
   G roup'concerns.
   ltis im portantto note thatwe take Jam es Ryan'denials very seriously and understand thatitis
   vitally im portantthatw e are able to supportofallegations with supporting docum entation.
   Itis regretfulthatJam es Ryan is attem pting to distractcounselfrom the truth being disclosed
   w hile discrediting his form erclients w ith inform ation thathas nothing to do w ith the
   overwhelm ing factualevidence thatw e have to supportourallegations againstthe accused
   defendants in ourcase.
   Because w e do notw ish to inundate and wanted to provide counselwith concise evidence,
   supporting docum entation,and inform ation as soon as possible,with yourperm ission we will
   provide inform ation tw o parts,first,is this em ailas itrelates to M ichaelRyan,Jam es Ryan,and
   The Ryan Law Group.
   Second,and Iatertoday,as we com plete this portion forcounseland because we wantto
   ensure thatwe resend and provide m ore concise evidence thatw illallow us to easily overcom e
   and address any concerns regarding M ichaelJ.Ryan'on behalfofThe Ryan Law Group'
   obvious assistance w i th the form aldrafting ofthe G reenw ay-Ecowin agreem entand the fact
   thatG reenw ay did in fact,notonly introduce Ecowin into the US butalso Iaterdid in fact,
   acquire the com panies exclusive distribution rights with Ecow in forthe entire US.

   W e willalso address James Ryanassertionsas they relate to FSS'defaul
                                                                       tjudgmentthatwe
   had previously discussed as w ell.

   Jam es Ryan,M ichealRyan,and The Ryan Law G roup m ustbe very concerned w hile clearly
   understanding thatthe US Suprem e Courtrecently revisited and addressed the issue ofthe
   courtpotentially dism issing ourcom plaintG reenw ay'com plaintagainstthe accused
   defendants due to US Suprem e Courtclari    fying a plaintiff's standards in asserting claim s
   during federalIitigation proceedings in the Twom bly pleading standard in Ashcroftv.lqbal,129
   S.Ct.1937(2009).
   W e are truly unsure,however,due to ournovice and Iim ited research thatwe regretfully had to
   undertake previousl
                     y,we were inform ed thatthe courtinterpreted Rule 8(a)(2)'s notice pleading
   standard to require thata com plaintallege ''enough facts to state a claim to reliefthatis
   plausible on its face.'Twom bly,550 U .S.at570.
   Itfound thatthe factualallegations ''m ustbe enough to raise a rightto reliefabove the
   speculative Ievel.''Id.at555.The courtreasoned thatthisstandard ''gdid)notimposea
   probability requirem entatthe pleading stage.''1d.at556.
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   Italso em phasized lhata claim to reliefm ustbe plausible on its face and thatwhile the
   ''plausibilitystandard isnotakinto a'probabilityrequirement,'(Ji
                                                                  tasksformorethanasheer
   possibility thata defendantacted unlawfully.'Iqbal,129 S.Ct.at1949.
   W e also find itincredibly odd thatJam es Ryan and The Ryan Law G roup would be taking such
   drastic m easures now,having neverpreviousl  y denied,contested,orresponded to,any of
   evidence,inform ation,orallegations in the com panies Rule 11 m otion againstJam es Ryan and
   The Ryan Law Group thatthe com pany was able to subm itto the courtduring ourbrief
   fum bling around orrepresentation ofthe com pany as Pro-se Iitigants thatunfortunately took
   place during ourpriorFlorida suit.

   O n W ednesday,Septem ber5,2018,Jam es Ryan w rote and stated the follow ing in his
   Ietterto counsel''Your allegation thatm y brotherM ichael,m y firm or Ieverrepresented
   Gœ enway Nutrients,Inc,(Gœenway)isfalse.Thatneverhappened.Nordid Ne ever
   receive any confidentialinform ation fm m Greenw ay or any otherentfty operated by M n
   Escam illa.''
   Therefore,thank you forallow ing us the opportunity to provide docum entation to contradict
   and easily dem onstrate thatJam es Ryan on behalfof1he Ryan Law Group is once again,
   regretfully choosing to be totally untruthfuland com pletely dishonest.

   Liza and Iwillacquire actualbankcopiesofthe initial$50,000.00 and $5,000.00 w ire
   transferts)from ouroId BankofDenveraccountthatwe have since closed butshould still
   have hard copies ofin storage thatw ere in fact,m ade to Thom as F.Ryan,M ike Ryan,and The
   Ryan Law G roup priorto perform ing any Iegalw ork on the com panies Private Placem ent
   Memorandum (PPM)asevidenced inattachedinexhibit#14and described below.
   Atthe tim e w hen we initially hired M ichaelJ.Ryan and his brotherThom as E Ryan to assistthe
   com pany w ith the form aldrafting ofthe com panies PPM ,w e neverthoughtto ask fora retainer
   agreem entsim ply because priorto disclosing any ofthe com panies confidentialinform ation to
   ei
    therM ichaelJ.Ryan orThom as F.Ryan we required thatboth ofourform erattorneys review
   and execute the com panies non-disclosure agreem entw hich they,both in fact,did.
   M ore im portantly,from on orabout Novem ber2010,through Novem ber2012,thatJam es Ryan
   and M ichaelRyan'youngerbrotherThom as F.Ryan also Iived as a guest in our hom e Free
   ofCharge in exchange forThom as E Ryan also serving as GeneralcounselforG reenw ay
   Nutrients,Inc.

   ln fact,Thomas E Ryan from Ryan)stillIists hisem ploymentas LegalatGreenway Nutrients as
   dem onstrated in Tom Ryan'online Linkedin profile below :
   https://www .linkedin.com /in/tom -w an-z8ao3846
   Additionally,ataIItim es during Thom as F.Ryan'tenure in ourhom e,as wellas during M ike
   Ryan'representation ofGreenway BO TH M ike Ryan and Tom Ryan com m unicated w ith and
   utilized the sam e em ailaddress Iocated atryantlaw @ aolxcom .
   Thom as E Ryan had regularand ongoing conversations w ith M ike Ryan and Jam es Ryan in
   orderto keep his brothers apprised ofthe com panies day to day business operations and
   financialdealings during the entire tim e Tom Ryan Iived as a guestfree ofcharge in ourhom e
   as well.
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   Regretfully, Thom as E Ryan also Iaterrefused to provide us w ith any ofourpastcli  ent
   paperwork and actually denied thathe had everrepresented G reenw ay Nutrients Inc.,in any
   capacity which we w ere able to Iaterfactually disprove during ourbriefinquiry with the Florida
   Baras to w hetherornotitwas ethicalforG reenway'form erattorney Thom as E Ryan to
   unlaw fully share and disclose the com panies confidentialattorney-clientprivileged inform ation
   while also m aking an appearance on behalfofthe defendants in ourpriorColorado suit.
   W e neverwanted to cause harm to Thom as Ryan,we sim ply w anted Thom as Ryan to tellthe
   truth and adm itthathe was being dishonest,and stillto this day,Liza and lcannotbelieve that
   Thom as Ryan,M ichaelRyan,orJam es Ryan w ould have been involved in doing Iike this to us.

   W e Iaterdropped ourFlorida Barinquiry into Thom as E Ryan'unethicalconductand were also
   Iaterinform ed by DHS authorities thatThom as F.Ryan'conductwould be thoroughly
   investigated by DHS w hich w as untrue.
   Please find the attachm ents regarding ourpaym ents to as w ellas M ike Ryan',Jam es Ryan and
   The Ryan Law G roup'representation ofthe com pany and the supporting em aildocum entation
   to supportourclaim s.

   Exhibit#1 - Is a copy ofG reenw ay'PPM Iisting M ike Ryan as attorney ofrecord forthe
   com pany.
   Exhibit#2 - Is a copy ofan em aildated M ay 26,2011,thatwas sentto Steve Blackburn with
   Greenw ay'attorney M ike Ryan acting on behalfofthe Ryan Law group also being copied on
   regarding a potentialinvestm entin Greenway'business m odel.

   Exhibit#3 - ls a copy ofem ails thatM ike Ryan acting on behalfofthe Ryan Law Group
   sending us copies ofourPPM as wellas advising the com pany ofthe SEC regulations as faras
   m aking any public announcem ents.

   Exhibit #4 - Is a copy ofan em ailthatwas sentto M ike Ryan on oraboutJune 11,2010,on
   behalfofthe Ryan Law G roup receiving the com panies confidentialinform ation thatM ike Ryan,
   The Ryan Law G roup,as wellas Jam es Ryan Iaterused to determ ine thatthe com panies
   businessmodelwasvaluedatapproximatelytwenty-fivemilliondollars($25,000,000.00)atthat
   tim e.

   Exhibit#5-Afterdeterminingthatthecompaniesbusinessmodelwasvaluedat
   appmximately twenty-ffve mlllion dollaa f> 5,e ,e .* )atthattim e,JamesRyan Iater
   senthis high-end wealthy clients a letter touting Gœ enw ay as an extraoM inak
   investm entand business oppodtlnc while oSerfng bis (Jam esRyan'clients)a
   seventeenanda halfpem entequitystakeforfouranda halfmillion dollar(1 ,R ,e .* )
   investm entin the com panies business m odel.

   Quick question?

   How did Jam es Ryan,M ichaelRyan,orThe Ryan Law Group ever com e to know of
   Greenw ay being an extraordinary investm ent,business opportunity,orany ofthe
   com panies confidentialinform ation ifas Jam es Ryan regretfully suggests in his Ietterto
   counselw hereby Jam es Ryan dishonestly stated,''Nor did w e ever receive any
   confidentialinform ation from Greenw ay orany otherentity operated by M r.Escam illa.''?
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   Exhibit#6 - Is a copy ofan em ailthatJam es Ryan sentto his brotherTom Ryan regarding the
   com panies PPM and ifany potentialinvestm entwas m ade in Greenw ay as a resultofJam es
   Ryan orThe Ryan Law G roup'e'orts to assistthe com pany thatJam es Ryan and The Ryan
   Law Group were to receive 10% com m ission and 10% in stock ifany of Jam es Ryan orThe
   Ryan Law G roup clients decided to m ake an investm entin G reenw ay.

   Exhibit#7 -is a copy ofan em aildated on orabout Septem ber27,2010,with M ike Ryan on
   behalfofThe Ryan Law Groupzalso working in conjunction with his brotherTom Ryan review
   G reenway Nutrients@ distributlon agreem entw ith SunlightSupply.

   Exhibit#8 -is a copy ofan em aildated on oraboutAugust3,2010,requesting thatG reenway
   generate new confidentialcom pany passcodes forone ofthe com panies SEC registrations.

   Exhibit#9 -is a copy ofan em aildated on orabouton oraboutOctober21,2010,
   dem onstrating thatM ike Ryan on behalfofThe Ryan Law Group
   worked in conjunction with Greenway'CPA forthe preparation ofthe companiesaudited
   financials thatthe com pany w as planning on utilizing in orderto be able to Iatertake the
   com pany public.

   Exhibit#10 -is a copy ofan em aildated on oraboutApril4,2011,from M ike Ryan on behal
                                                                                       f
   ofthe Ryan Law Group,in conjunction with his brotherTom Ryan setting up aconference call
   m eeting with a gentlem an by the nam e ofG reg Nolan fora potentialinvestm entin the
   com panies business m odelas w ellas taking the com pany public..

   Exhibit#11 -additionally,beginning som e tim e on oraboutJune of2010,and afterappearing
   orbeing featured on NBC,ABC,FOX,W allStreetJournal,and Forbes Magazine justto name a
   few ,w e began to take m eetings with various qualified and non-qualified investors seeking
   investm ent in G reenway'highly successfulbusiness m odelw ith the sole purpose and intention
   offirst preparing a PPM thatw ould laterbe converted through a reverse m ergerwhile
   sim ultaneously taking the com pany public utilizing a publicly traded shellcorp Iike HPC.
   G reenway found im m ediate success and on oraround July-August2010,M ichaelJ.Ryan and
   the Ryan Law Group,were aware thatthe com pany was able to attractas wellas identify a
   publicl
         y traded shellcorp nam ed STRATA CAPITAL CO RPO RATIO N and STRATA
   ACQUISITION CORP (collectivelyidentifiedas 'STRATA'')throughanothercontactofourswho
   introduced Strata'ownernam ed Richard Astrom who was also based outofthe W estPalm
   Beach area w ho desperatel
                            y w anted G reenw ay to com plete a reverse m ergerw ith Strata at
   thattim e.

   G reenway initially agreed to a binding LO Iw ith Strata and proceeded to also take extra added
   m easures to engage the Iegalservices ofG ottbetter& Partners,LLR based outofNew York
   City to also help representG reenway during the com panies due diligence and background
   process into Strata'viability as a suitable corporate vehicle in orderforG reenway to Iaterbe
   able to com plete a proposed reverse m ergerw ith Strata.
   G reenway'counsel:
   PaulC.Levites,Esq.
   Gottbetter& Partners,LLP
   488 M adison Ave.,12th Fl.
   New York,NY 10022
   T-212.400.6900
   F-212.400.6937
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   E-pcl@ gottbetteccom
   W -ww w.gottbetteccom

   Strata'ownerRichardAstrom wasrepresented byLaura E.Anthony('ANTHONY'  '),Esq.with
   Legal& Compliance,LLC ('L&C'')based inWestPalm BeachFloridawho'sIaw firm speciali
                                                                                   zes
   in SEC com pliance and regulatory m atters in orderto provide Strala'due diligence
   docum entation to Gottbetteron behalfofG reenway.
   Laura E.Anthony,Esquire
   Legal& Com pliance,LLC
   33O Clem atis Street,Suite 217
   W estPalm Beach,FL 33401
   O#ice:561-514-0936
   Fax:561-514-0832
   Lauraanthonypa@ aol.com
   ww w.legalandcom pliance.com
   The proposed reverse m ergerw as nevercom pleted due to ourIaterdiscovery ofpotenti       ally
   false orm isleading statem ents ofStrata'viabili ty and the various ''stock prom oters'
                                                                                         'thatw ere
   affiliated w ith M r.Astrom and the Strata w ho did notappearto have G reenway'best interestat
   heart.

   M s.Anthony and L&C willbe able to confirm thatM ike Ryan was actjng as Gœ enway'
   attorney pm vided com pany inform ation to M s.Anthony and L&C during the com panies
   due diligence pm cess ofStrata.

   Exhibit#12 -is a copy ofthe em ailfrom M ike Ryan to Liza inform ing the com pany thathe
   (MikeRyan)had read and agreedtothetermsoftheexactsamenon-disclosureform that
   defendants New Epic and FSS also executed and agreed to keep the com panies inform ation
   com pletely confidential.The originalem ailw illalso be provided.

   Exhibit#13 - Is a copy ofa letterthatThom as F.Ryan sentto another attorney requesting
   stating thatM ike Ryan had contacted in orderto also possibly serve as an escrow agent
   forthe com panies PPM .

   Exhibit#14 -Is a copy ofan em ailthatThom as E Ryan sentto us indicating thathe and
   Mike had received ourinitial$50,000.00 depositand $5,000.00 w ire.
   ln closing,w e w ould Iike to hum bly lhank you once again and as w e take a quick break to
   prepare ourevidence as itrelates to defendants Ecow in and FSS,w e Ieave you with only one
   ofdefendantJam es Nyan'num em us and com pletely dishoneststatem ents thathe has
   already m ade to counselin M K Ryan 'letterdated Septem ber5,m f8,w herein M n Ryan'
   own typed N olW s stated the following:''Fotlrallegation thatm y brother M ichael,m y firm
   orIeverm pœ senfed Greenway Nutrients,Inc,(Gp enway)is false.Thatnever
   happened.Nordid e e everreceive any confidentialinform ation from Greenw ay orany
   otherentity operated by M n Escam illa.k'
   Thank you,Jonathan.

   Respectfully subm itted,
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   G ustavo
   (818)355-0062
   Liza

   (818)263-6845
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                      Exhibit 5
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          da Limi
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                          tyCompany
       RYAN & RYAN LAW YERS,LLC
       Flling Inform ation
       DocumentNum - r                  L10000109993
       FEI/EIN Number                   NONE
       Date Flled                       10/21/2010
       State                            FL
       Status                           INACTIVE
       LastEvent                        ADMIN DISSOLUTION FOR ANNUAL REPORT
       EventDate Filed                  09/23/2011
       EventElective Date               NONE
       PrincipalAddress
       631U.S.HIGHWAY ONE
       SUITE 100
       NORTH PALM BEACH,FL 33408
       Ma/lingAddress
       631 U.
            S.HIGHW AY ONE
       SUITE 100
       NORTH PALM BEACH,FL33408
       Repistered AgentNam e & Address
       RYAN,JAMES D
       631U.S.HIGHW AY ONE
       SUITE 100
       NORTH PALM BEACH,FL33408
       AuthorizedPersontâ)Detail
       Name & Address

       Title MGRM

       RYAN,JAMES D
       26K LAKE SHORE DRIVE,#103
       RIVIERA BEACH,FL33404

       Title MG RM

       RYAN,MICHAELJ
       370 GOLFVIEW ROAD,#104
       NORTH PALM BEACH,FL33408

       AnnualRepods
        No AnnualRepoe Filed
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                      E xhibit 6
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                GR EENW AY NUTRIENTS.INC.and tJS STRATEG Y,lNf'  1.
          M UTUAL NON-DISCLOSIIRE and NO N-CIRC UM V ENTIO N AG REEM ENT

 ThisMutualNon-DisclosurcandNon-circumvtntionAgreement(thisAgteement)governsthedisclosure
 ofinftpnuationby and betweenGreeawây Nutriexql c.('I-11F$e('-0R?(.
                                                                  )RA170N*')andUS Strategl'1nc.
                                            ;of' % &t-.
 (Tbe-'Company--).togetber(Thci.parties-*)fki         lhQ -- ttheL-ffcctiveDate).
                                                            .        -




           As used herein, Confidential Inform ation lneans any and aIl technical arxl non-technical
 informalion provided by eitherparty to the other.including,butnotIimited to information rcgarding (a)
 patentand patentapplications.(b)trade secret,and (c)proprietarj'information.mask works.ide'
                                                                                           as,
 Aqm plcss media- techniques, sketce s,draw ings. works of authurship, naodels- inventitlnse kn
                                                                                              - ow-how,
 processes- apparatuses, equipm ente algorithlns, soûware program s, sotbvarc source docum ents, and
 tbrm ulae related to tNe current.futtlre.and proposed products and services of each tlt-the parties,and
 incltlding, without lim itation, their resm ctive infonmation concerning research. exlxrilnental worke
 development. design details and specilicationsa engineering. f'     inancial inlbrmation. procuremcnt
 requiremerlts,purchasinp m allufacturing,ctlstom er lists.investors.employees.business lmd contraetual
 relationships,business forecastsssalcsand merchandising,lnarketing plansand infbrmation the disclosing
 party providesregarding third - ies.

  l.      Each pillly agrt-ts tllat it '
                                       willhold in strict confidenc.
                                                                   e and notdisclose to any third party
Confdentiallnformation ofthe other.exccptas approved in writillg by the other party to thisA gm ement.
and will use the Contsdential Illform ation for no ptlrpost other than evaluating or purslling a btsiness
relatitlnship with the other party to this Agrcemenl. Ntltwitllstanditag the abovc. the       y tt? whom
Contidential Information wms disclosed (the Recipient)shallnot be in violation of this Section 2 with
regard to a disclosure that was in response to a valid order by a courtor other govem m ental body. or
ptlrsuantto rules and regulations of any sttr k exchangc or sttyt:k assteiation in which securities of the
Rccipicntor its representatives m ay be traded froln time to lime.provided thatthe Recipiem provides the
other party w ith prior uqitten notice of sucll disclosure in ordcr to perm it the othcr party to seek
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ofthe Conlsdentiallnfonnatîon whîch.in thejudgmentofRecipienl'scounscl-Recipientisrm uired îo
diselose. Expressly subjectto Sectit-ln4.any Contidentiallnformationdiselosed pursuantto tlaisSection2
shallremain treated as Confidential lntbfm ation underthis Agreement in allother respt-cts. Each party
shall only lx rm it access to Conlsdential Infonnation of the other party tu those of its employees or
authorized representatives having a nced to know and who has'e signed contsdentiality agreem ents or arc
olllvrwise bound by confidentiality obligatiensatleastasrestrictive asthose eontained herein.

 2.     1),
          )ach    y shallim mediately notify the otherin tlle eventol
                                                                    -any Itlss or unauthorized disclosure
ofany Confidentiallnlbnnation ofthc otherparty.

 3-       NonCircumvention: 'fhe 'Padies''intending to be legally botmd,htreby irrevtlcably agree,and
guarantee each other they shalI not, directly or indirectl) intertbre with, circulnvent or attempt to
circumvent, avoid, by-pmss. or obviate cach other'g interest. or the interest or relationship between the
'Padies''w'
          ith roducers.sellers- btlycrs. brokcrs. dealers,distributors. financial institutions. technology

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owners. develogers or lnanufk turcrs. to change, increase or avoid directly or indirectly payment of
established or to tx establishcd fces. com m issions. or continuance of pre-established relationship or
intcrvene in non-contracted relationship with manufacturers tnr technology owners with intem w ditvîas,
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  4.      Each party's obligations undcrthis Agmemelltwith reslxxctto any portion ofthe otherparty-s
ContsdentialIntbrmation shallterminatewhenthe Recipientcan doctlmcntthat:((a)itw'
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domain at the time itwas communieated to the Rccipientby the other party;(b)itcntered thc ptlblic
domain subsequeatto the tim e itwas comm unicated to the Recipientby the otherparty'through no tàultof
the Recipivntp
             '(c)itwas in the Rccipient=s m ssession frec ofany obligatilln ot
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wascommunicated to the Recipientbytheotherparty'   ,(d)itw'asrightfuily communicatcd to the Recipient
frœ of any obligation of conlidencc subsequentto the tim t it was com m unicated to the Recipient by the
otl
  aerparty;or(e)itwas rightfully communicated to the Recipientt-      ree (,1'any'obligation ofcontsdence
subsequentto thetimeitwascom municated to theRecipientby theotherparty;or(f) itw'ascoum lullicated
by the otherparb'to a third party frce ofany obligation ofctm tsdence.

 5-       Upon termination orexpiratitm oflhis Ag eem ent-orupon written requcstofthe otherparty,each
party shallpromptly returnto the othcra11dtxmnents-notes and othertangihle materials rzptegenting the
other's Confidcntiallntbrmation and aIlcopiesthereof.

  6.      n'lxe parties recog'
                             nize and agree that nothing conu ined i11this Agrccmentshallbe eonstrued as
granting any propeny rights.by 1icense or otherw isesto any ConlldcntialIntbnnatiolt of thc other party'
discloscd pursuant to this A greem ent, or to any invention or any patent.topyright. tradem ark.or uther
intellectual property right that has issued or that m ay issue. based on such Contsdential Inform ation,
Neithcr party shall rnakc, have m ade. use or sell for flnl purlx se any' producî or other item usinp
incoqxlrating orderived tkom any ConlldcntialInlbrm atiorlofthe otherpartq.

  7.      ConGdential lntbnnation shallnot be rcproduced in any form exceptas required tç) accomplish
the intent ot-this Agreement. Any reproduction of-any Corllldential lnformation of the other party by
eimqrparty shallremain lhe'property of-the disclosing pa.
                                                        14.
                                                          3,
                                                           .and shallcontain anl'and alIcontsdentialor
proprietary notictl orlegends thatappeûron the original.unlktss othenvise authorlzed ln wrhing b)'tlle
other     )',

  8,      Thisagreem entshallterminale two years at'  terthe bffective Date.orm ay be term inatcd by'eîther
party at any time tlpnn 30 day's w'ritten notice to the other party-'I'
                                                                      he Rccipitnt's tàbligations under this
Agreem entshallsurvive tennination ofthis AgreementIx tween the parties and shall1* binding upon the
Recipient's heirs,successors and aisigns. Tluz Recipient-s obligations laereundcr sha11 continue in full
force and effect with respectto non-technicalsalcs-mark-cting.and tsnancialConfidentialInfonnation fbr
threeyearsfrom thedateot-disclosure ofsuch ConsdentialInfonnation. '        Fhe Rm ipient'sobligationswith
resm ctto aIIlechnicalContidenti'
                                allnforfnation slzallbe term inated 0111, pursuantto Section 5.


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Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 55 of 105




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   9.      This agreem ent shall be governed hy and construed in aceordance with thc laws ot-Califbrnia
 withoulrcference to conflictof laws principles. Any disputes under this Agre m entshallbe broughtin
 the statc courts and the l--ederalcourts ltxated in l,()s Angeles County.California.and the parties hereby
 congentto tlze N rsonaljtrisdiction and venut ofthese courts. Notwithstanding the foregoing,the
 disclosingpartymayseekinjunctiverelicffrom any'coun ofcommtentjurisdictiontopreventabreachof
 thîsAgreement. ThisAgreemelltmaynûtb4amentledexcept$rawritingsignctf$'bothpartkshçreto.
   10.     fach party acknow ledges thatits breach of this Agreefncntw illcause irrcparablc damage and
 hereby agrees tlhqt the othcr party shallbe entitled to seek and receive iqiunctive rclief tmder this
 Agrecmentwithoutbeing reqaired to N sta lx4nd ort'thersecurity,as wellas such furtherreliefincluding
 butnotIimitedto actualdamagesandcostsand fktsasmay begranted byacotld ofcompdentjttrisdîction.
   1l. lfany provision ofthis Agreementis found by a proœ rduthority to bc unentbrceable or invalid.
 such unenfbrceability orinvalidity shallnotrenderthis Agreem entunentbrceable orinvalid asa vvhole and.
 in such event.such provision shalllx changed and intcrpreted so asto bestaccomplish the objectivesof
 stl
   ch unenlbrccable orinvalid grovisioflwithin the linAits ofapplicdblc Iaw orapplicable courtdccisions.

   l2-     Ncithecpartyshallcommunicateanyinfijnmationtotheotherinviolationofthepropridaryri/uts
 ofany third party.

   I3. Neither party willmssign ortransfer any rights or obligations tlnderthis Agreementwithoutthe
 priorwritttn consentofthe otherparty.

           Neither party shall export- dîrectly or indirectl). any technical data acqtlired from the otfler
 pursllnnt to this Agrccm ent or any product utilizing any gtlch data to any eountry tbr which the U.S-
 Govenpmentorany agency thereoratthe limc of exportrcquires 24)7 expt)rtlicense orothpr governmental
 approvalwithoutfirstobtaining such licenscorapproval.

   l5. Allnoticesorrejx'    )rts perm itted orrcquired tlnderlhis Agreementshallbe in wriling and shdllbe
 dclivered by personaldelivery,electronic mail,tàcsim ile transm ission or b)'certified or registered mail.
 return reccipt requestedeand slmlltx deerned given upon personaldelivery- t lve days aher deposk in the
 mail,orupon acknow ledgmentof'rcceiptofelccm lnic transmission.Notices shallI     XAsentt(
                                                                                    .       n the addresses
 Setfolthatthetnd 0t'thisAptttmentt)rsuçhotheraddrcRsaseitherpartl'may specit'
                                                                             y inwriting.
   l6.     Each of the parties agrces that the software program s of the other party contain valuable
 contidentialinfbrmation and each pany agreesitw ilIntltmodify.revcrse engineer.decompile,createother
 works from,or disassem ble any softwarc program s eontained in the C'ontidentialInformation cht'the otller
 party withoutthe priorwritten consentof-the otherparty.

  l7.      ThisAgreementsuN rsedesal1ptiordiscllssitlnsand writings and ctmstinltosthe cntire agreement
 bctweenthepartiesw'
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                        Exhibit 7
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   LizaH aw e
   M v h 5,2019
   Pa> 2 of4

   againstEcowinifthey retuain inthecase.becauseitwouldprejudicetheirdeiknsetohavea
   defaulttaken asto Ecowin. The prmniseoftheConlplaintw efled asagainsttheRyan partiesis
   thatGreenway had acontractwith Ecowin which wastenzlillated asaresllltoftheRya.
                                                                                 u parties-
   conduct.Therefore.theRyan pal-tieswould ll 'k-elyhavearighttocontestthedefaultjudgment
   againstEconilz.wllichwouldalso bebasedonthisprenzise.asprejudicingthenz.Itisgenerally
   thenvlein federalprocedtu'ethatjointlyliabledefendants-ordefendantswhoarenotjoitztly
   liablebuthave closely related defenses- cannotbedefaulted tmlesseithera11defendantshave
   defaulttdortherehasbeenan adjudicationoftheclailnsonthenlelitsagainsttherenlau
                                                                                'ling
   defendants.In otherw ords.wlûleGreenway could tryto argue thattheRyansshould notbe
   allowed to interfere with thedefaultagainstEcow in.they willcel-tainly try to do so.slowing
   thingsdou-n.and there isahi-ah lt'k-elihoodthatthey w ould succeed.

            Greenway can thereforederivesignit-icantvalue froln renloving the Ryan pal-tiesfrom tlze
   litigation attlùstinle. Further.theteisnonmrginalbenefitto keeping theln in the case.sitlcethe
   datuages souzht
                 -   frozu the Ryan pat-tieswould beessentially the salue ar
                                                                           swhatGreenway seeks
   &onlEcowin:nanlely.thebenefitofGreenway'sbargain 111itsbroken contractwith Ecow-in. If
   w ecan getthatfrolu Ecowin.tllereis11o pointin ptu-suing theRyan pal-ties.

           The downside ofproceeding againsttheRyan pal-tiesisalso vel-    y signit-icant.They have
   frequently and consistently tllreatened anlaliciolîsprosecution action orsanctionsagainstboth us
   and you forsuing thenlwithouta sotm dbasis, Even in the eventsuch a suitwereunsuccessful.it
   w ould be expensive to defend.and awasteoftitne foreveryone involved.

          Therightstrategic choice forGreenw ay isthereforeto accepttheRyans'offerofaw alk-
   away agreenlent.in orderto elinliaate lualiciousprosecution sanctionsl'
                                                                         isk and proceed
   unùupededtoseek alargejudgnwntagainstEcowin.Asyoutattonleys- inparticular.as
   attonzeysw hose t'
                    inancialincentives are aligned w ith G reenw ay's tlwough ourt-
                                                                                  ull-contingent
   an'angenzentand advancenzentofsiplit-icantcosts- weunhesitatingly and strongly reconunend
   acceptingthisoffet.qse hopethatwehave gained yourtnlstand that.consistentn-ith yolu-
   frequentpraise ofourwork.thatyou willagree,

            Additionally.please be advised wewillnotproceed with the claitusagainsttheRyan
   paz-tieson yotu'behalf.A iierthorough investigation and revieq   a'ofthenlatelialsyou provided in
   responseto olu'Septenlber 14 letter.tmd perournunlerouspliorconversationswith you.we
   believethenlto bewithoutevidentiary suppol'     t.The few itenlsyou have sentusol-iginating with
   any oftheRyanbrotlzerswhicllrelateto Greenway N utl-ients.asopposed to Greenw ay
   U niversity.are frotu Toln Ryan.nots.   ficlzaelor Jalnes.and do notpm-tain to the l'inn you asked
   usto sue.the Ryan Law Crroup.PLLC',q'rehave seen no evidencethatJaluesorNlichaelRytm
   w orked for G reenw ay N utrients.incltlding the private placelnentnlenlorandtun you have
   frequently refen'ed to.whiclz.although itdoesnzention theconceptofnutrientproducts.was
   prepared to solicitinvestluentin Greenway University,'     W recez-taillly havelleverbeen provided
   with mzy retainerap-eementorexpressstatenlelztthatany oftheRyan paz-tieswere actizzg as
   Greenway Nutrients'attonleys.And ourreliance on yom'representationscaused several
   assel-tionsoffactto be included in theConzplau   'ltwlzich laterproved incon'ect.forexa:   mple tllat
   s'IichaelRyan drafted the Ecow in contractorthatJanles Ryan introduced El'       ic H anson to you.
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    Gustavo Escanziza
    LH Haw orth
    M amh 5,2019
    Page 3of4

          56oreover.the attol-ney-clientrelationship betw een JanzesorsfichaelRyêm orRyan Law
    Group and Cireelnvay N
                         ''utrients.which they have repeatedly denied existsand ofxvhieh we do
    nothave evidence.isthe fachmlprenzise ofa11the clailns againstthese pal-ties. Thisincludesthe
    tortiousintederencewithcontractclainls.asthetunjustified-interferenceelelnentofthattort
    requires breach ofan attol-
                              ney-clientcollfdence in thiscontextto distinguish itfl-olu 11011-
    actionable sharing ofinfonzzation.

            A tyotlrinsistence.w e agreed to deferw itlldraw ing the clainlstm tilatierthe sfotion to
    Disnûssw asdecided-because itw aspossible these elainlsw ould be distnissed on the pleadings
    and therefore w ew ould notbe required to drop thetn outlight.l Because we do notbelieve these
    clainzsto be suppol-ted.how ever.w ew illnotpursue thenzon yourbehalf.asrequired by otu'
    ethicalduties as attonw ys. A lthough we strongly believe aecepting tlzew alkaway agreenlentis
    in Cireenw ay-sbestintez'est.tlzisis an independently suft-icientz'
                                                                      eason notto pm-sue tlze claim s.
    Thisdecision isfinal:while we alw aysappreciate the oppot-tunity to speak with you.
    respectfully.nre w illnotengage in furtherdebate on thispoint.whieh w e have discussed
    extensively in writing and overthe phone.

            O fcourse.asyou kuzow .itisalw aysCireenw ay'sdecision how to proceed w ith itscase,
    Ave cam zot.and w ould not.acceptthe w alk-aw ay agremnetltforGreenw ay w ithoutyourconsent.
    However.should you.asyou have frequently indicated.rel-      use to drop the clailnsagainstthe
    Ryan parties.w e w illhave a fundanzentaland irreconeilable disas emnentabouthow to lnove
    fonvard with the case and w illregretfully be forced to w ithdran'froln thislnatterasyotu-
    attom eys ptlrstlalltto olu'EngagelnentA greeluent.Rtlle 1.16 ofthe N ew York Rules of
    ProfessionalConduct.and Rule 1.16 ofthe Califol-   nia RulesofProfessionalConduet.

           Thatisnotthe outconle w ew ant, svehave always proeeeded in good faith in the hopes
    ofapositiveresolution ofthisnàatter. %%'e w ould like notlling luore than to seek a rennm erative
    outcolne - forGreetnvay aud forourftt-ln - by proceeding in dqfaultagainstEcow in on
    Greenw ay-sbehalf.

            Please infonn usby 5.00 Pacitic tinw on Thtu-sdav.sfarch 7 how Cireelnvay intendsto
    proceed.so that.ifw e are forced to n-ithdraw .w e can give the colu4 notice inunediately and
    provideyou adequate titne to go fonvard arsyou see t54. lfw e do notheal-definitively ti-onlyou
    aboutwhetherto acceptthe Nvalk-away agyemnentby thattinle we w illhave no choice butto
    unforttmately t'ile papersrequesting to berelieved asyourcotm seland provide you w ith your
    case file so thatyou lnay seek otherrepresentation.z




    1n attheM otionto Dùm isswasdenled asto tlleclainzsagznstte Ryanpartiesdcesnotcv gethisaaalysis. On
    aM oion to Dism iss,tlze courtisrequired to acceptdle allegationsin thecomphintastrue,w'
                                                                                           hetherernotiey have
    probablecatweoreddentiarysupport.
    2You m- tioned dlzring the mediation session thatotherattorneyshavebeen interested in taki
                                                                                             ng up Greenway'scase
    in tlzepast. should we lx forced to witâdraw wewould l)e lzappy to work qzùckly to getany otherattorney up to
    speed.
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                       E xhibit 8
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   OnWednesday,January11,2012 11:45AM,Tom Ryan<ryantl
                                                    aw@ aol.com>wrote:


   Plea% sign and retum
   Thanks
   Tom

   ---
         o riginalM essage---
   From :Nance GuentherPeterson <NanceG@ usstrategies.com>
   To:ryantlaw <ryantlaw@ aol.com>
   Cc:EricHanson Mehanson@ usstrategies.o m>
   Sent:M on,Jan 9,2012 9:40 am
   Subject:NDA
   Tom ,

   G ood afternoon.

   Attached is the NDA w ith Eric's initials - dated today.

   W e Iook forward to continued discussions on this exciting project.
   M y best,

   Nance

   Nance G uenther Peterson
   SeniorVice President
   US Strategies Corp.
   301 Clem atis Street
   Suite 3000
   W estPalm Beach,FL 33401
   (P)561-833-8150
   (F)561-833-8501
   ww w .usstrategies.com
   nanceg@ usstrategies.com
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    From :Tom Ryan <w antlaw@aol.conl>
    Date:January 6,2012 at10:09:09 AM PST
    To:gescam illa@ymail.com ,azilcorpl@grnaii.com
    Subject:Fwd:Meeting aboutNutrients


    -
        Ori
          ginalMessage--
    From:Eric Hanson <ehanson@ usstrategies.com>
    To:Tom RyanMryantlaw@ aol.com>
    Cc:Mrm236 <Mrm236@ aoI.com>
    Sent:Fri,Jan 6,2012 1:54 am
    Subject'
           .Re:Meeting aboutNutrients
    Congratulations!Let's m ove to the nextstep and see whatcan be done.Please forward the non
    compete etc....W e then should have a callwith form erCongressm an Jerry W eller,who is with us,
    map outa plan to move fo- ard.My travelschedule atthe mom entisa bitflui   d.Atthe mom entIooks
    Iike Iwillbe in DC the week ofthe 10th and perhapsthe following week.Let's stay in touch and aIl
    my best,Eric
    Sentfrom m y iphone

    OnJan 5,2012,at8:16 PM,'Tom Ryan''<ryantlaw@ aol.com>wrote:

    Ericand Nance
    Ienjoyeddi
             scussi
                  ngwhatourcompany,GreenwayNutri
                                               entsi
                                                   sdoing.Iam pleasedtotellyouthewehavesignedthecontad for
    theCO2 charged nutrients.Iwould Iike to fofward anon-com pete nor-di
                                                                       sclosure agreementto youandthen fol
                                                                                                         low upwRhsome
    testresults.Italkedwith Gus Escam ila andtold him yourte ughtsonthe hardwœ d trees and on thetestingattheunivers'
                                                                                                                    ltyof
    Iowa.We can provide the samples along wRhdata wehave.Ifyouare stillplanning onbeing hereonthe 16th ofJanuafy we woul  d
    apgreciate getti
                   ngtx etherwith you.2012 isgoingto bea greatyear.
    Tom Ryan
    (561)723-5725
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                        E xhibit 9
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 64 of 105




    To:Jonathan Sorkow itz <'
                            Isorkow itz@ niercebainbridqe.com >
    Cc:Liza Haworth <azilcornl@ nm ail.com >
    Sent:M onday,M arch 11,2019,3:33:38 PM PDT
    Subject:Re:M oving forward

    Good afternoon Jonathan,
    Thank you,forthe em ailand w hile itis very disappointing to hearthatwe m ay nothave am ple
    tim e to have an expertwitness assistG reenway in determ ining the com panies Iosses,
    thankfully,we are able to provide evidence thatdefendantEcow in had staded to unlawfully
    ship over50,000 ofgallons Ecow in'base pow dery m ildew products directly to Fulfillm ent
    Solutions Services,LLC .,in Florida during the exactsam e lim e period thatEcow in w as
    supposed to be supplying products to G reenway.
    M oreover,lfw e recall,FSS w as form ed on oraboutJune 20,2O11,in the state ofFlorida w ith
    the assistance ofTom and M ike Ryan,thatw as specifically created forproviding distribution
    and orderfulfillm entservices to Greenw ay Nutrients,Inc.'eastcoastoperations atthattim e.

    AfterdefendantEcowin unlawfully breached its contractwith G reenw ay,on oraboutO ctober
    19,2012,and decided to IatercutG reenw ay offfrom being able to purchase any products
    from Ecow in any fudher,in Novem berof2012 as w e disclosed in ourcom plaint,Ecow in
    also took partin the defendants overalldeceptlon by attem pting to intentionally m islead
    Greenway'seniormanagementthatDavid Park(Greenway'originajcontact)wasnoIonger
    em ployed by Ecow in,thatGreenway was also able to prove rem ains to be entirely untrue.
    ln addition to G reenw ay N utrients continuing to dig through the com panies records,and in
    orderto assist in assessing 1he com panies overalldam ages thatwere directly caused to
    Greenw ay business m odelby Ecow in'breach ofits contractw ith G reenway,attached
    areand website Iinks below oftwo separateand unlaM ulbillofladingls)and shipments
    ofEcowin'base powdery m ildew products to Fulfillm entSolutions Services,LLC (''FSS'')
    dated June 2013,and Novem ber2013.

    https://panl
               'iva.com/Ecowtn-co-Ltd/4o4x r o
    https://paniiva.com/Ecowin-co-Ltd/s4glqx
    Therefore,and from w hatwe are able to now Iocate on by publicly available shipping records,
    defendantEcow in did,in fact,intentionally divertas w ellas deprive Greenway Nutrients oftens
    ofm illions ofdollars in Iostprofits thatGreenway would have enjoyed had Ecowin not
    unlawfully shipped its base powdery m ildew products to ourcom petitorin directviolation and
    in breach ofits contractw ith G reenway.
    Thankfully,those facts are indisputable.Here is w hy.
    ln orderto supportGreenway Nutrients,Inc'position,Vegalab'very firstem ployee and form er
    Vice PresidentofNorth American Sales named David Heller(we are able to resend i
                                                                                  fneeded),
    provided a signed affidavitstating am ongstm any otherthings,the following:

    1.Thatduring M r.Heller's em ploym entatVegalab,thatthe only tw o products that
    Vegalab and Suprem e G row ers,LLC'em ployees had on hand thatw as bottled,properly
    labeled,and ready to sellw ere Greenw ay Nutrients,Inc'No Spider M ites and No
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    Pow dery M ildew brand nam ed products.M r.Hellerw as em ployed by Vegalab from on or
    aboutJune of2012,through August of2013.

    2.ThatVegalab w as now Ecow in'exclusive distributorof Ecow in'products forthe entire
    United States.

    3.M r.Helleralso stated thatafterSelakovic,Blackburn,and their related corporate
    entities ran out ofG reenw ay No Spider M ites and No Pow dery M ildew productIabels that
    he personally w itnessed defendants Blackburn and Selakovic w ho had obviously
    m isappropriated G reenw ay products,Iabels,caps,and raw product inventories,w hile
    acting on behalfof and through Fulfilm entSolutions Services,LLC'instructVegalab and
    Suprem e G row ers em ployees to affix and continue to sellthousands ofadditional
    counterfeitversions bearing Greenw ay'No SpiderM ites and No Pow dery M ildew
    products Iabels.

    W hile G reenway'tradem ark infringem entallegations m ay have been dism issed as itrelates to
    the otherdefendants,Mr.Heller'sstatements,inconjunctionwithdefendantEcowin'own
    docum ented and m isleading statem ents,and shipping records should provide conclusive
    evidence thatEcow in know ingly and intentionally took partin causing harm to G reenw ay'
    distribution of its brand nam e products,w hile diveding m illions ofdollars in Iost profits
    aw ay from Greenw ay.
    In addition to this,w hile the defendants attem ptto dow nplay the significance oftheirunlawful
    distribution ofGreenway'NSM and N PM products,w e are able to prove thathad Ecow in not
    intentionally violated the term s ofits contractw ith G reenw ay and proceeded to latership over
    50,000 gallons of Ecow in'raw pow dery m ildew productto Selakovic,Blackburn,and
    FR.q,that Greenw ay w ould not have ever had to sustain those Iosses itsuffered as a
    resultofdefendant Ecow in'conduct.
    To also supportG reenw ay'position i
                                       fwe recall,New Epic M edia'form erPresidentnam ed
    Paula Ryan also supplied G reenw ay w ith an em aila#idavi
                                                             tstating thatSelaklovic was intending
    on defrauding Greenway Nutrients and Iaterreverse engineering Greenw ay'products overseas
    which we are also able to prove Ecowin Iaterpublicly announced on oraboutJanuary of2014.
    (Weareableto supplyMs.Ryan'emailagainifneeded).
    W hen w e firstdiscovered and broughtEcoW in into the United States we acquired exceptional
    pricing.

    EcoW in'products are highly concentrated and carry a 1600-1 dilution ratio.

    M eaning 1 ounce ofEcoW in'products w ould m ake up to 1600 ounces orgreaterthan 12
    gallons offinished ready to use product.

    Less than 1 ounce ofraw product is w hatw e use in our32 ounce N PM 10 gallon
    concentrate thatretails for$89.50.
    The tw o unlawfulEcow in shipm ents to FSS thatare attached w ere 11,700 and 22,000
    kilogram s or33,700 kilogram s in totalweightrespectively.
    Each kilogram weighs 2.2 pounds.Ecowin'raw productshipm ents to FSS were in excess of
    74,140 pounds.
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    Each gallon ofproductw eighs approxim ately 8.34 Ibs.Therefore,there are approxim ately
    8,889 gallons of Ecow in'raw base powdery m ildew productthatw ere shipped to FSS as
    opposed to G reenway and w hile Ecowin was supposed to deliverthose products to G reenway
    There are approxim ately 128 ounces ofproductin each gallon.
    Each gallon ofEcow in base pow dery m ildew productm ade approxim ately 128 bottles ofour
    lo-gallon NPM concentrate thatretailsfor$89.50.
    G reenw ay N utrients,lnc'gross profitpereach gallon ofEcow in'base pow dery m ildew
    productw as approxim ately 128 x $89.50 = $11,456.00
    According to w hatw e are able to prove defendant Ecow in shipped to FSS,Greenw ay's
    lossesat$11,456jergallonx8889gallonsfrom whatwecanuncoveronourown,iswell
    in excess of$50 m lllion dollars and over$100 m illion in gross sales as a result.
    Had Greenwayenjoyed theabili
                               tyto havethe8,889gallonsofEcowin'baseproductthat
    Ecow in w as contractually obligated to deliverto G reenw ay,Greenw ay w ould have neverhad to
    com pete againstitselfnorwould have Greenw ay lostm illions ofdollars in profits due to the
    defendants intentionally and illegally selling Greenway'ow n branded No Powdery M lldew and
    No SpiderM ites products back to G reenway entire custom erbase atsigni    ficantly reduced
    pricing foryears.

    M ost im portantly,on orabout October19,2012,Ecow in, Vegalab,SA,and Selakaovic,aII
    agreed and identified defendantVegalab,Inc.as a suitable corporate vehicle thatthe
    defendants aIlIatertook partin utilizing to take Vegalab,Inc.public.

    Notonly did Vegalab,Inc.form errepresentative nam ed Eric Hanson intentionally breach
    the Ryan brothers prepared Greenw ay Nutrients,Inc,NDA,Ecow in also Iaterconspired
    w ith Selakovic and Vegalab,SA to take partin taking Vegalab,Inc,publicly traded
    business m odelpublic thatw e did notdiscoverhad taken place w ith the assistance of
    ourform er attorneys untilon or aboutM arch of2017.

    This is a majorm ulti-milliondollartheftand fraud thatwas perpetrated againstus by ourform er
    attorneys w ho introduced us to a know n group ofthieves w ho have repeatedly stolen other
    com panies products in the very sam e fashion and thatis w hy the defendants were so keen on
    stealing ourrelationship w ith Ecow in so thatthey could eventually take overourcom pany for
    its well-established brand nam e products.
    G reeneway Iostprofits as a resultofdefendants Ecow in are substantialgiven the harm ful
    nature,background,and egregious conductthat Ecow in proceeded to em ploy against
    Greenway fornojustifiable reason whatsoeverotherto compete against,take marketshare,as
    wel!as profits aw ay from G reenw ay.
    This was notIawfulcom petition,and welloutside the scope ofa sim ple breach ofcontract
    case in w hatw e assertw as a wellplanned and deliberately orchestrated schem e and theftOf
    ourcom pany forits valuable nam e brand products thatEcowin is atthe directcenterofsim ply
    because Ecow in has continued to supply aI1parties in ouraction with Ecowin'raw base
    products.
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    Thank you,so very m uch Jon,forallowing us to dig through things fudherand please advise
    as to how w e should calculate G reenway'dam ages as a resultofEcow in'conducta described
    above.
     Respectfully subm itted,
    G us
    (818)355-0062
    Liza
    (818)263-6845
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                       E xhibit 10
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   W.Sàakovi
           c,aswel
                 lasMr.Blackbum havecontinue tokrowixl
                                                     yill
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                                                                lmilionsoftbliars<gthofGreenway'trm- arkprdKte
   pqe cts while continvirf tocaeseuntol
                                       d fina ialnain axlemotim alA astationto mysel
                                                                                   f,mybusix ss,aswell* myfamly.
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   tY nk O thyou.aswellasyourentirateam.fœ aIIofyœ r(Mw ix effods.Iam àso ho ftlthalthi
                                                                                      sfactualeNi% rxewiIbeofsi
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                  on.
   T*        you.
   gix oray,
   Gus Escamila
   Presie t
   Gr- o Nutri  entsl
   135 QastOliveAve.:4103
   PurbarA,CA.gl* 3
   (818)              - Di
                         rxt

   --   On Tum,$Bl4l$&,GlwnM aI'kKotqnrnakitoraqme pmail.comz-- 0.
                                                                 .*:
   > Fm :Glen Markuplenmarkstoraœ @pmai
                                      facomx
   > SuiiKt:Fb:GreenwayNutri
                           entstR)Cbntactlnformation
   > To:'Gustavo Escamiff
                        a'i- camill
                                  a@vmail.com>
   > Date:Tuesdayyœ ttkv 4,D 16,12:
                                  57 PM
   > Attace kou will
   >fi
     rt e tosoft- i
                  tems.
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                       E xhibit 11
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    On M onday,M arch 11,2019,9:38:14 AM PDT,Jonathan Sorkow itz
    <'
     Isorkow itz@ niercebainbridge.com > wrote:
    Gus: W e have a breach ofcontractclaim againstEcow in,so the dam ages should be what
    Greenw ay expected to getfrom the contractbutdidn't- i.e.the profits Greenw ay would've
    seen from the contractforthe rem ainderofits term afterEcow in breached. Thatshould be
    m easured by w hatyou w ere m aking on the contractbefore the breach. Regarding a dam ages
    exped,the couë only gave ustwo weeks to file a requestfordefaultjudgment,so Idon'tthink
    w e have tim e foran expert. Ican try to getm ore tim e butJudge Bloom runs a very tight
    docketand i  t's unlikely she'llgrantthat. The good news is,Idon'tthink we need one. Ifw e
    can subm itdocum entation thatdem onstrates Greenway was m aking 100k+ in profitforthe
    monthsthe contractwasinplace,wecan makeasound applicationforajudgmentofIost
    profits forthe rem ainderofthe contractterm - and w hile Ithink it's iffy thatBloom would grant
    this,lw illcertainly include in the requestthatthe courtconsidera second yearofthe Ecowin
    contractsince the contracthas thatIine aboutsigning again aftera year. So Ithink the place to
    startw ould be w hateverfinancialrecords forGreenw ay Nutrients existfrom thattim e. Tax
    returns orfinancialstatem ents would be great. As faras Iostbusiness opportunities etc.,
    unfodunately Ithink those claim s w ould have been againstdefendants who've already been
    dism issed by the court. Jon

    From :Gustavo q:nescam illat/vrrail.cot
                                          z)>
    To:Jonathan Sorkowitz<'
                          IsorkoA gA t> ebqàp-Y idnqrr r l
    Cc:Liza Haworth <azilcornl@ gm ail.corrp
    Sent:M onday,M arch 11,2019,3:33:38 PM PDT
    Subject:Re:M oving forward

    G ood afternoon Jonathan,
    Thank you,forthe em ailand w hile i t is very disappointing to hearthatwe m ay nothave am ple
    tim e to have an expertw itness assistGreenway in determ ining the com panies Iosses,
    thankfully,w e are able to provide evidence thatdefendantEcow in had started to unlawfully
    ship over50,000 ofgallons Ecow in'base powdery m ildew products directly to Fulfillm ent
    Solutions Services,LLC.,in Florida during the exactsam e tim e period thatEcow in w as
    supposed to be supplying products to Greenway.
    M oreover,Ifw e recall,FSS was form ed on oraboutJune 20,2011,in the state ofFlorida w ith
    the assistance ofTom and M ike Ryan,thatw as specifically created forproviding distribution
    and orderfulfillm entservices to G reenw ay Nutrients,Inc.'eastcoastoperations atthattim e.

    AfterdefendantEcow in unlaw fully breached its contractwith G reenway,on oraboutOctober
    19,2012,and decided to latercutG reenw ay otffrom being able to purchase any products
    from Ecow in any further,in Novem berof2012?as w e disclosed in ourcom plaint,Ecow in
    also took partin the defendants overalldeceptlon by attem pting to intentionally m islead
    Greenway'seniormanagementthatDavid Park(Greenway'originalcontact)was no longer
    em ployed by Ecow in,thatG reenw ay w as also able to prove rem ains to be entirely untrue.
    In addition to G reenw ay Nutrients continuing to dig through the com panies records,and in
    orderto assistin assessing the com panies overalldam ages thatw ere directly caused to
    G reenway business m odelby Ecow in'breach ofits contractw ith Greenw ay,attached
    are and w ebsite Iinks below oftwo separate and unlawfulbillofIadingts)and shipm ents
    ofEcowin'base powdery m ildew products to Fulfillm entSolutions Services,LLC (''FSS'')
    dated June 2013,and N ovem ber2013.
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    httns://panl
               'iva.com /Ecow ip-co-Ltd/4o48837g

    httpsr//paniiva.com/Ecowin-co-Ltd/s4gloo3
    Therefore,and from w hatw e are able to now Iocate on by publicly available shipping records,
    defendantEcow in did,in fact,intentionally divertas w ellas deprive G reenway Nutrients oftens
    ofmiilionsofdollarsin lostprofitsthatGreenwaywouldhaveenjoyed had Ecowinnot
    unlawfully shipped its base powdery m ildew products to ourcom petitorin directviolation and
    in breach ofits contractw ith G reenway.
    Thankfully,those facts are indisputable.Here is w hy.

    In orderto supportGreenway Nutrients,Inc'posi
                                                tion,Vegalab'very firstem ployee and form er
    Vice PresidentofNorthAmericanSalesnamed David Heller(weareabletoresend ifneeded),
    provided a signed affidavitstating am ongstm any otherthings,the follow ing:

    1.Thatduring M r.Heller's em ploym entatVegalab,thatthe only tw o products that
    Vegalab and Suprem e G row ers,LLC 'em ployees had on hand thatw as bottled,properly
    labeled,and ready to sellw ere G reenw ay Nutrients,Inc'No Spider M ites and No
    Pow dery M ildew brand nam ed products.M r.Heller w as em ployed by Vegalab from on or
    aboutJune of2012,through Augustof2013.

    2.ThatVegalab w as now Ecow in'exclusive distributorof Ecow in'products forthe entire
    United States.

    3.M r.Helleralso stated thatafler Selakovic,Blackburn,and theirrelated corporate
    entities ran out of Greenw ay No Spider M ites and No Pow dery M ildew product Iabels that
    he personally w itnessed defendants Blackburn and Selakovic w ho had obviously
    m isappropriated Greenw ay products,labels,caps,and raw product inventories,w hile
    acting on behalfofand through Fulfilm entSolutions Services,LLC'instructVegalab and
    Suprem e G row ers em ployees to affix and continue to sellthousands ofadditional
    countedeitversions bearing Greenw ay'No Spider M ites and No Pow dery M ildew
    products Iabels.
    W hile Greenway'tradem ark infringem entallegations m ay have been dism issed as itrelates to
    the otherdefendants,M r.Heller's statements,in conjunction with defendantEcowin'own
    docum ented and m isleading statem ents,and shipping records should provide conclusive
    evidence that Ecow in know ingly and intentionally took partin causing harm to Greenw ay'
    distribution ofits brand nam e products,w hile diverting m illions ofdollars in Iostprofits
    aw ay from Greenw ay.
    In addition to this,w hile the defendants attem ptto dow nplay the significance oftheirunlawful
    distribution ofGreenwaylNSM and NPM products,w e are able to prove that had Ecow in not
    intentionally violated the term s ofits contractwith G reenway and proceeded to Iatership over
    50,% gallons ofEcow in'raw pow dery m ildew productto Selakovic,Blackburn,and
    FA-*,thatG reenw ay w ould not have ever had to sustain those Iosses itsuffered as a
    resultofdefendant Ecow in'conduct.
    To also supportG reenw ay'position ifwe recall,New Epic M edia'form erPresidentnam ed
    Paula Ryan also supplied Greenway with an em ailaffidavitstating thatSelaklovic was intending
    on defrauding G reenw ay Nutrients and Iaterreverse engineering G reenway'products overseas
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    w hich w e are also able to prove Ecow in Iaterpublicly announced on oraboutJanuary of2014.
    (WeareabdetosupplyMs.Ryan'emailagain î
                                         fneeded).
    W hen we firstdiscovered and broughtEcoW in into the United States we acquired exceptional
    pricing.

    EcoW in'products are highly concentrated and carry a 1600-1 dilution ratio.

    M eaning 1 ounce ofEcoW in'products w ould m ake up to 1600 ounces orgreaterthan 12
    gallons offinished ready to use product.

    Less than 1 ounce ofraw productis w hatw e use in our32 ounce NPM 10 gallon
    concentrate thatretailsfor$89.50.
    The tw o unlawfulEcow in shipm ents to FSS thatare attached w ere 11,700 and 22,000
    kilogram s or33,700 kilogram s in totalweightrespectively.

    Each kilogram w eighs 2.2 pounds.Ecowin'raw productshipm ents to FSS were in excess of
    74,140 pounds.
    Each gallon ofproductw eighs approxim ately 8.34 lbs.Therefore,there are approxim ately
    8,889 gallons ofEcow in'raw base pow dery m ildew productthatw ere shipped to FSS as
    opposed to Greenw ay and while Ecow in w as supposed to deliverthose products to G reenway
    There are approxim ately 128 ounces ofproductin each gallon.
    Each gallon ofEcow in base powdery m ildew productm ade approxim ately 128 bottles ofour
    lo-gallon NPM concentrate thatretailsfor$89.50.
    G reenw ay Nutrients,Inc'gross profit pereach gallon of Ecow in'base pow dery m ildew
    productwas approxim ately 128 x * 9.50 = $11,456.00
    A ccording to w hatw e are able to prove defendant Ecow in shipped to FSS,G reenw ay's
    Iosses at$11,456 pergallon x 8889 gallonsfrom w hatw e can uncoveron ourown,is well
    in excess of$50 m illion dollars and over$100 m illion in gross salesas a result.
    HadGreenwayenjoyed theabilityto havethe8,889gallonsofEcowin'base productthat
    Ecow in was contractually obligated to deliverto G reenw ay,G reenway w ould have neverhad to
    com pete againstitselfnorwould have G reenw ay Iostm illions ofdollars in profits due to the
    defendants intentionally and illegally selling G reenw ay'ow n branded No Pow dery M lldew and
    No SpiderM ites products back to Greenway entire custom erbase atsignificantly reduced
    pricing foryears.

    M ostim portantly,on orabout October 19,2012,Ecow in, Vegalab,SA,and Selakaovic,aII
    agreed and identified defendantVegalab,Inc.as a suitable corporate vehicle thatthe
    defendants aIIIatertook partin utilizing to take Vegalab,lnc.public.

    Not only did Vegalab,Inc.form er representative nam ed Eric Hanson intentionally breach
    the Ryan brothers prepared Greenw ay Nutrients,Inc,NDA,Ecow in also Iaterconspired
    w ith Selakovic and Vegalab,SA to take partin taking Vegalab,lnc,publicly traded
    business m odelpublic thatw e did not discoverhad taken place w ith the assistance of
    ourform erattorneys untilon orabout M arch of2017.
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    Thisisamajormulti-milliondollartheftandfraud thatwasperpetrated againstusbyourformer
    attorneys w ho introduced us to a know n group ofthieves w ho have repeatedly stolen other
    com panies products in the very sam e fashion and that is w hy the defendants were so keen on
    stealing ourrelationship w ith Ecow in so thatthey could eventually take overourcom pany for
    its well-established brand nam e products.
    G reeneway lostprofits as a resultofdefendants Ecow in are substantialgiven the harm ful
    nature,background,and egregious conductthatEcow in proceeded to em ploy against
    Greenway fornojustifiable reason whatsoeverotherto compete against,take marketshare,as
    w ellas profits aw ay from G reenw ay.
    This w as notIawfulcom petition,and w elloutside the scope ofa sim ple breach ofcontract
    case in w hatwe assertw as a w ellpîanned and deliberately orchestrated schem e and theftof
    ourcom pany forits valuable nam e brand products thatEcow in is atthe directcenterofsim ply
    because Ecow in has continued to supply aIIparties in ouraction with Ecow in'raw base
    products.
    Thank you,so very m uch Jon,forallow ing us to dig through things furtherand please advise
    as to how w e should calculate G reenway'dam ages as a resultofEcow in'conducta described
    above.

    Respectfully subm itted,

    Gus
    (818)355-0062
    Liza
    (818)263-6845
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                      E xhib it 12
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    From :G ustavo Kgescam illa@ vm ail.com >
    Sent:M onday,M arch 25,2019 11:55 PM
    To:John Pierce <l 'pierce@ piercebainbridgescom>,
                                                    'Jonathan Sorkow i
                                                                     tz
    u'
     Isorkowitz@ niercebainbridqe.com>' ,Carolynn Beck <cbeck@ piercebainbridqe,com >'
                                                                                     ,Jim
    Bainbridge u'
                lbainbridne@ niercebainbridge.com >
    Cc:Liza Haworth <azilcorpl@ qm ail.com>;M arc Kent<kentm arc@ qm ail.cor lp
    Subject:Re;Ecowin'uncontested motiondefaultjudgment
    Good evening John,

    W e sincerely apologize forourongoing confusion,and we respectfully beg ofyou to please
    understand thatwe were n0tseeking to be a burden,nuisance,orto upsetyou in any way,
    John.Please.

    Aswehad attemptedto expressinourpreviousemailts),we understand how busyyoumustbe
    and are very sorry forourhaving to reach outoreven contactyou and have repeatedly
    dem onstrated ourgood faith and respectofyourvaluable tim e by nothaving done so previously
    in the past.

    W e desperately beg ofyou to please forgive us forhaving to reach outto you now.

    W hile we w holeheartedly appreciate yourfirm 'rapid growth,stelfarsuccess,as wellas having
    an abundance OfIvy League attorneys atyourdisposal,you are G reenway Nutrients,Inc'Iead
    attorney in ourcase,John,and you are the only reason w hy G reenway Nutrients,lnc'senior
    m anagem entchose to hire Pierce Bainbridge in the firstplace.

    W e willcontinue to be outstanding jow m aintenance clients w ho are saddened,in shock,and
    cannotbelieve thatyou would requestthatG reenway'seniorm anagementno l       ongercontact
    you(ourIead attorney)viaemaileventhough intherareeventthatwe everneededyour
    advice orlegalopinion in the past.

    Even m ore confusing Is thatpriorto our m eeting in your office on oraboutM arch 7,
    2019,on orabout M arch 6,2019,Jonathan inexplicably had also inform ed G reenw ay'
    seniorm anagem entthat he and Pierce Bainbridge w ould require thatGreenw ay Nutrients
    execute a m utualrelease and dism iss aIIclaim s againstourform erattorneys nam ed
    Jamesand Mike Ryan,(the Ryan brothers)and The Ryan Law Group,LLC.,(the Ryan
    firm)going forward.
    Otherwise you,Jonathan,as wellas Pierce Bainbridge w ould be abruptly w ithdrawing as
    counselofrecord on behalfofGreenway Nutrients,lnc.

    Even though the courthas already ruled in G reenw ay'favorand againstthe Ryan brothers and
    the Ryan Iaw firm as itrelates to G reenway'tortious interference and breach offiduciary duty
    claim s thatJonathan insisted thatG reenway Nutrients,lnc inexplicably dism iss againstthe
    Ryan brothers and the Ryan firm .

    To fudherbolsterG reenway'very well-docum ented case againstthe Ryan brothers,and the
    Ryan firm,on aboutMarch 6,2019,Judge Bloom flat0utdenied and immediately rejected
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    defendantJames Ryan'requesttostayGreenway'uncontested motionfordefaultjudgment
    againstEcowin.

    Even though James Ryan and the Ryan firm are supposedly notrepresenting Ecow in.

    Ifyou recall,one ofthe m aterialconsiderations in G reenw ay decision to even entertain
    potentially releasing the Ryan brothers orthe Ryan firm in the firstplace was due to your
    prom ise to G reenw ay thatG reenw ay w ould be receiving the benefitofan expertw itness
    to assistG reenw ay in assessing the com panies overalldam ages against Ecowin going
    forward.

    Thatdid nothappen which has leftus very confused,and the Iastthing w e everintended to do
    was to upsetyou in any way.Forthat,w e are genuinely sorry,John.W e truly are.Please
    understand that.

    O n oraboutJanuary 9,2019,G reenway sentJonathan the com panies supporting attachm ents
    thatfudherdem onstrated the Ryan brothers are the ''directproxim ate cause''thatis
    responsible forthe accused defendants being able to intentionally interfere w jth Greenway
    contractwith Ecwoin thathas continued to cause m illions ofdollars in financiallosses to
    G reenw ay'business m odel.

    Even m ore perplexing to us all,and afterfollow ing Jonathan'advice to seek advice from outside
    counsel(astweek,previously on oraboutSeptem ber5,2018,w hen w e initially served
    defendantJam es Ryan,M ike Ryan,and The Ryan Law Group,LLC.,Jam es Ryan w rote
    you and Jonathan and scathing Ietterstating am ongstotherthings,the follow ing
    untruths below and attached foryourconvenience.

    ''Your allegation thatm y brother M ichael,m y firm orIeverrepresented Greenway
    Nutrients,Inc.,(Greenway)is false.Thatneverhappened.Nordid eeeverreceiveany
    confidentialinform ation from Greenway orany otherentity operated by M r.Escam illa.

    ''The Ecowin ncontract''attached to your com plaintis notsigned by Ecowin.Iam
    inform ing you thatthe allegation thatGreenway had such contractis falsea''

    ''Fotldo notand never willhave any evidence to supportyour claim that Vegalab
    tortuously intedered w ith any relationship between your clientand Ecowin and /or thatit
    isoreverinfringed on any Greenwaymarkls).
    ''Theonetime Imethim inperson easwhenhe eas in2010 when he easjustgetting
    ready to slarlGreenway UniversityiHe walked us through the building thatwould
    becom e its cam pus.The tourIasted about30 m inutes.

    For w hatit's w orth, M y brother Tom has neverbeen a m em ber or associate ofm y firm .''

    Greenway was able to im mediately provide evidence to the contrary againstthe Ryan brothers
    attached as itrelates to the rem aining accused defendant'
                                                             s unlawfulconductthatincludes:

    1.Jam es Ryan Septem ber 5.2018,em ailto counsel,
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    2. G reenway'initialSeptem ber14,2018,em ailand evidence folderthatis also attached,

    3.along w ith G reenw ay'January 9,2019,em ailand evidence folder

    M oreover,included in defendantJames Ryan'initialm otion to dism iss,Jam es and M ike Ryan
    already adm i
                tted and claim ed to have both introduced G reenway Nutrients to Eric Hanson
    w ho w as representing Vegalab,Inc.atthattim e.

    BeforeGreenwayNutrients,Inc.everenteredintoanydiscussionsrejardingapotentialreverse
    mergerwith EricHansonorVegalab,lnc.(thenHPC)GreenwayNutrlents,Inc,required that
    Eric Hanson execute a non-disclosure agreem entthat also included an additionalNO N-
    CIRC UMV ENT provision.
    The Greenway-Hpc NDNCA also dem onstrated G reenway'intentions ofcreating a publicly
    traded entitythrougha reverse mergerwithVegalab,Inc.(thenHPC)thatmanufactured,
    developed,and distributed organi    c plant-based pesticides and fungicide products thatthe Ryan
    brothers fistassisted in drafting then m oving away from G reenway w hile also delivering Ecowin'
    exclusivedistributionagreementwithGreenwayto bothVegalablnc,(thenHPC)and defendant
    Selakovic instead.

    Thatis w hy G reenway'seniorm anagem entwas so confused w hen we received Jonathan'
    February 6,2019 em ailindicating thatPierce Bainbridge would be abruptly withdraw ing as
    counselon behalfofG reenway ifG reenway'seniorm anagem entdid notim m ediately agree to
    sign m utualreleases as wellas dism issing G reenway Nutrients,lnc'claim s againstthe Ryan
    brothers and the Ryan firm altogethergoing forw ard.
    Jonathan'proposed demand,m utualrelease,and dism issalOfthe Ryan brothers and the Ryan
    firm from any potentialfuture liability are in fact,to the severe detrim entOfG reenway'best
    interests on num erous fronts as previously identified in G reenw ay'evidence packages attached.

    Therefore,and regretfully,aftercarefulthought,consideration,and only afterreviewing aIlof
    Greenway'uncontested evidence againstdefendant'Ecow in,Jam es Ryan,M ike Ryan,and the
    Ryanfirm,Greenway'seniormanagementrespectfullyandformall
                                                           yrejectsJonathan',your',and
    Pierce Bainbridge'dem ands included in Jonathan and Pierce Bainbridge'M arch 6,2019,
    proposalto G reenway Nutrients,lnc.

    Greenway Nutrients,Inc.should notbe required and w illnotagree to execute a m utualrelease
    ordism issalofthe Ryan brothers and the Ryan firm from any future Iiability withouta Iegitim ate
    Iegalbasis orproperm onetary consideration.

    Greenway Nutrients is,however',entirely open to continue to be fair,equitable,and reasonable
    and woul
           d agree to release a1Irem aining parties from any future Iiability w ith G reenway
    acceptingtowalkawaywithasIittleasThree HundredThousand DollarsUS (''$300,000.00'')
    netcash to G reenw ay Nutrients,Inc.a1lin thatincludes aIIattorney'
                                                                      s fees and costs.

    Like yourself,John,G reenway Nutrients seniorm anagem entis exhausted and feels that
    Greenway'proposalis incredibly fairand is a very reasonable solution thatallows everyone to
    move forw ard in a m ore posi
                                tive direction.
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    Please,John,please,we are desperately begging ofyou,to please find itin yourhead to
    forgive us forourconfusion while seriously giving 0urfairand generous Offersom e serious
    thoughtand consideration and getback to us once the Ryan brothers have had am ple tim e to
    review,digest,as wellas reasonably think things through realisti
                                                                   cally.

    Thank you.

    Respectfully subm itted,

    G us
    (818)355-0062
    Liza
    (818)263-6845
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                      E xhibit 13
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    From :John Pierce <'
                       Ipierce@ niercebainbridqe.com >-

    Date:M arch 25,2019 at4:44:57 AM PDT
    To:Gustavo <qescam illa@vm ail.com >
    Cc:Liza Haw orth <azilcorpl@ qm ail.com >,Carolynn Beck <cbeckQ niqrcebainbridge.com l,PB
    Partners <nadners@ piercebainbridqe.com >
    Subject:Re:Ecow in'uncontested motion defaultjudgment

    Carolynn orsom e partneryou need to dealwith this.Iam closing m assive dealthis week.G us,
    Iitigation is a fluid process.Itis intellectualcom bat.Itis notconducted via CYA e-m ails.You
    need to stop.Candidly,Ido notappreciate itin lightofwhatIand this firm have done f0ryou
    afteryourthreatening IetterIastyear.And especially afterw hatJon Sorkow itz has done fOryou.

    lassure you furtherthreats willnotreceive such a warm response.

    1have builtand m anage a globalfirm with 60 or65 or70 ofthe m ostelite Iitigators On the planet
    thatis stillgrowing.Ihave been orwillbe in about10 cities in two weeks orsom ething like that.
    Igetthousands ofem ails a day and dozens ofcalls.Iam n0tin the mood foryourten thousand
    word e-mailswithmultiplefontsbolded with underlinesand italics.ltisjuvenile.
    Team,someonejumponthisand ensurewearehandlingthisproperiy.Icannotbetheperson
    dealing withdefaultjudgmentprove-uphearings.
    GetOutlookforAndroj/  .




    From :G ustavo
    Sent:M onday,M arch 25,4:33A M
    Subject:Ecowin'uncontestedmotiondefaultjudgment
    To:John Pierce
    Cc:Liza Hawodh


    Good m orning John,

    Hope you had an excellentweekend!

    As we have exhibited,Liza and Ihave continued to be exem plary clients ofyourfirm by m aking
    ita pointto m inim ize ourcom ing to you forany assistance,questions,orhelp,however;now
    thatwe are attempting to calculate GreenwayNutrients,lnc'(''Greenway'')uncontested
    damages againstdefendantEcowin Co.LTD.('Ecowin''),we are now respectfully requesting a
    few m inutes yourundivided attentîon sim ply because Liza and Ihave becom e even m ore
    confused and are needing to hearyourthoughts due to OurIack ofknowledge thatw e are
    currently experiencing.

    Since on oraboutM arch 14,2019,Liza and Ihave been repeatedly attem pted to reach you
    regarding Greenway'uncontested motion fordefaultjudgmentagainstdefendantEcowin that
    was originally due to be subm itted to the courton M arch 2O,2019,and is now due On M arch 28,
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    2019,and we have we stillhave yetto hearfrom yOu regarding Ourconfusion orreceive your
    inputand professionalassessm ent.

    Reason being,on oraboutM arch 7,2019,w hen Liza and Im etwith you atyouroffice,yOu were
    kind enough to prom ise us thatG reenway would be acquiring the professionalassistance ofan
    expertw i
            tness to help assess the com panies dam ages againstdefendantEcowin going
    forward.

    A few days later,on oraboutM arch 12,2019,Jonathan Sorkowitz abruptly inform ed Greenway'
    seniormanagementthatGreenway would nothave am ple time to acquire the assistance ofan
    expertwitness and thatG reenw ay would have to prove the com panies uncontested dam ages
    againstdefendantEcowin on ourow n.

    W hile thatw as very disappointing new s,to say the Ieast,we w ere nottoo concerned because
    thankfully,G reenw ay was able to acquire additionalevidence thatEcow in had in fact,
    unlawfullyshipped anadditional8,889 gallons (and Geassertwellover50,000gallonstof
    its raw base powdery m ildew concentrate productdirectly to Fulfillm entSolutions Services,LLC
    (''FSS'') duringthe sametime periodthatEcowinwascontractuallyObligated todeliveritsbase
    pow dery m ildew productto G reenw ay Nutrients.

    Here is w hy Ecow in'unlaw fulshipm ents of8,889 gallons of productto FSS is so very
    im portantand vitalin assessing G reenw ay Nutrients,lnc'dam ages in ourcase.

    JonathanaskedustoprovideevidencethateachgallonofEcowin'basepowderymildew
    productmakes 128 bottles offinished productthatretailfor$89.50 each thatls worth a
    totalof$11,456 pergallon to the defendant's thatGreenway had created in the market,
    w hich we also cc'you on.

    As we had attem pted to explain,as a direct resultofEcow in unlawfully diverting product
    aw ay from G reenw ay and intentionally delivering its valuable base powdery m ildew
    productto FSS and others instead,Ecow in also intentionally deprived G reenw ay ofw ell
    over$101,000,000inpotentialjrossrevenuesthatGreenwaywouldhavehadthe
    oppodunitytoenjoy had Ecowln not''materiallybreached''itscontractwithGreenwaywhile
    unlawfully delivering its productto FSS.

    Please understand thatG reenway is notseeking som e unrealistic dam age figures against
    Ecowin in any w ay,we are sim ply wanting to gain som e m uch-needed clarity as to how Ecowin'
    anti-com petitive behaviorand conductcould potentially affectG reenway potentialdam age
    award figures going forward and we stilldo notunderstand h0w Jonathan is arriving at
    G reenway'potentialdam age award figures.

    As we had unsuccessfully attem pted to repeatedly explain to Jonathan,the single biggest
    reason w hy Ecow in'unlaw fulshipm entof8,889 gallons ofits base pow dery m ildew
    producttoFSSandothersissoveryimpodantandvitalindeterminingGreenwaï'
    uncontested dam age award against Ecow in is thatG reenw ay would have the abillty to
    easilyIeverageEcowin'defaultjudgmentand potentially beafforded millions ofdollars
    Iitigation financing.
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 84 of 105




    lfwe recall,and pursuantFSS non-disclosure agreem ent,FSS,oranyone affiliated with FSS,
    was to nothave any contactorprovide any services to any ofGreenway'raw productsuppliers
    and especially Ecowin.

   This oversightcould potentially costG reenw ay m illi
                                                       ons ofdollars in furtherdam ages,and since
   then,G reenway'seniorm anagem enthas been attem pting to reach you to cure ourobvious
   confusion as itrelates to Jonathan'fiduciary duty to properly assess and m axim ize G reenw ay'
   uncontested dam ages thatthe com pany m ay be entitled to receive againstEcow in.

   Additionally,Ecow in has clearly acted in very bad faith and pursuantto Ecow in'and
   Vegalab,SA'very ow n O ctober19,2012,distribution agreem ent,you w illalso find that
   Ecowin is also responsible for m oving G reenway'opportunity into a potentialreverse
    merjerdealwithHPC Acqusisitions,lnc.(now Vegalab,Inc.)awayfrom Greenwayin
    conjunction w ith Selakovic,Vegalab,SA ,and Vegalab,Inc.instead.

    G e were wondering how are we supposed to assess Greenway N utrients,Inc'dam ages
    as a resultofEcowin'bad faith conduct?

   M oreover,had we provided w ith an expertw itness like w e were prom ised would occur,they
   would be able to substantiate thatG reenw ay'form ernearestcom petitors nam ed NPK Industries
   in oursam e m arketspace,thatalso carried sim ilarcom peting powdery m ildew and spiderm ite
    products,haveenjoyed revenuesinexcessof$30-$40 millionduringthatsametime periodas
   well.

   Additionally,ourform ernationaldistribution partners named SunlightSupply'Vice Presidentof
   Sales nam ed Rod Davis,would be w illing to provide G reenway Nutrients w ith an additional
   statem entortestim ony thatG reenw ay Nutrients No Powdery M ildew and No SpiderM ites brand
   nam e products were one ofthe top three up and com ing organic pesti  cides and fungicide brand
   ofproducts across the entire United States priorto Ecow in deciding to supply FSS as wellas
   0urcom petitors w i
                     th Ecow in'products instead ofG reenway.

    Had Ecowin notintentionally provided its products to FSS and others,Greenway would
    have never had to com pete againstitselfand others and would have continued to
    experienceafree unimpededmarketplace foritsproductswhileenjoying similarifnot
   greaterrevenues m uch Iike our form ercom petitors NPK Industries and since Ecowin'
    defaultjudgmentis now going uncontested how are Ge toknow?
    Greenw ay w as also able to provide evidence to Jonathan thatdem onstrated that
    Greenw ay had sent FSS over5,000 labels ofeach size ofG reenw ay'No Powdery M ildew
    products size bearing the companies tradem arkthatwas worth over$1.9 m illion dollars
   thatitalso appears thatwe are nottaking into consideration as Iosses to G reenw ay and we do
   notunderstand w hy.

   Lastly,please understand thatLiza and lare n0tseeking to be a burden on you in any way,we
   are sim ply notassim ilating how Jonathan is able to arrive athis determ ination ofG reenway
   Nutrients,Inc'potentialdam age award calculations w hen Jonathan asked G reenway to prove
   the value ofEcowin'products to G reenway Nutrients,lnc.in the m arketonly to Iaternottake
   any Ofourdocum ented evidence thatwe were able to provide thatsupports the value ofour
   products in the marketinto consideration.
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   W e also respectfully beg ofyou to please understand thatwe are nOtattem pting to be a burden
   ornuisance inanyway,John,we Ioveand respectyouverymuch,anditsaIlgood,itisjust
   thatLiza and Iare sim ply seeking clarity on G reenway Nutrients being able to m axim ize any
   potentialuncontested dam age awards thatthe coud m ay be willing to im pose againstEcowin
   and we would really Iike to getyourthoughts and professionalassessmentin figuring itoutso
   we can both finally sleep betteratnight.

   Liza and 1,sincerely appreciate and respectfully thank you in advance foryourvaluable tim e
   and kind understanding,very m uch.

    Respectfull
              y subm itted,

   G us
   (818)355-0062
   Liza
   (818)263-6845
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 86 of 105




                       E xhib it 14
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 87 of 105




        Forwarded M essage -----
    -- ---


    From :Gustavo <gescam ill
                            a@ym ail.com >
    To:Jonathan Sorkowi tz <jsorkowitz@piercebainbridge.coml
    Cc:John Pierce <jpierce@piercebainbridge.com >',Carolynn Beck
    ucbeck@ piercebainbridge.com >'
                                  ,Liza Haw orth <azilcorpl@ gm ail.com >;M arc Kent
    <kentm arc@gm ail.com >
    Sent:W ednesday,M arch 27,2019,7:38:19 AM EDT
    Subject:Re:Re;Ecowin'uncontested motion defaultjudgm ent


    Jonathan,
    Regretfully,yourhave had ourcom panies tax returns inform ation along w ith ourcom panies
    C PA 'contactinform ation since on orabout M arch 7,2019.

    W hy have you notcontacted G reenway'CPA to acquire this inform ation?
    Furtherm ore,you are the professionaland ourcurrentCPA stated thatyou as an attorney
    should have known thatyou could have easily acquired ourcorporate tax information by
    providing G reenw ay Nutri
                             ents w i
                                    th an IRS form 8821 or4506.
    G reenw ay'had already supplied you w ith the com panies 2011,2012,and now you are
    requesting 2013'tax inform ation thatw e are happy to provide.
    W e are curious as to w hatis included in G reenw ay'2013 tax inform ation thatw illassistyou in
    maxim izing yourclients uncontested molion fordefaultjudgement?
    W hy have notadvised Greenway Nutrients,Inc ofthis orsupplied Greenway Nutrients,Inc.
    w ith an lRS form 8821 or4506?
    Please do so atyourearliestconvenience so thatw e m ay be able to acquire this infom ation
    thatyou should have already investigated and received.

    Additionaly,you have deprived Greenway ofan expertwitness and the opportunity to properly
    aSSOSS OUrCom panies dam ages.

    M oreover,atthis point,itis obvious thatyou are now com peting yourown CYA as John would
    callit,and are now sim ply attem pting to m ake i
                                                    ts appearas i
                                                                fG reenway is som ehow being non
    com pliantw ith yourdocum entproduction requests when nothjng could possibly everbe
    furtherfrom the truth.

    You have allowed Jam es Ryan and The Ryan firm to continue to com m ita deliberate fraud
    upon the courtthatwe are going to everything hum anly possible to ensure Judge Bloom is
    m ade aw are of.

    Lastly,we DO NOT AN D W ILL NOT CO NSENT TO PIERC E BAINBRIDGE abandoning
    G reenw ay Nutrients,lnc orw ithdrawing as counselofrecord and are requesting thatyou
    im m ediately notify the the courtto setan evidentiary hearing so thatGreenway Nutrients may
    apprise Judge Bloom ofJam es Ryan and The Ryan firm gross m alfeasance.
    Failure to do so is adversarialand to the severe detrim entofG reenw ay Nutrients,Inc'best
    interests.
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 88 of 105




    Thank you.
     Respectfully subm itted,
    G us
    (818)355-0062
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 89 of 105




                      E xhibit 15
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 90 of 105




John Pierce
Re:Re;Ecowin'uncontested moti
                            on defaul
                                    tjudgment
To: -1r
      )t
      .nathar
            nSork.
                 c'
                  v;it;
                      r, G'
                          -k-
                            in. Cc: C'arot'
                                          ,
                                          ;nn E:
                                               3c't-
                                                   .k,


Didn'tItellyouto stop threatening me/us and to Ieave me offyouremails? ldo not'consent''to that.BTW ,
we willadhere tothe ethicalrules regardless ofwhatyou consentto.W e willnotpursue claims against
partieswithoutmerit.
W e are withdraw ing due to yourlack ofcx peration and otherissues.C B1,cite the relevantprovisions of
the engagementagreement.Untilthe withdrawal,we willcontinue to zealously representyourintefestsas
required to do underthe ethi calrules.
Now Ieave me alone untilyou force me to be deposed and testify attrial.Othereise,Ido notwantto see
you orhearyournam e even.This w illnotbe a pleasantexperience foryou.
G etO utlook forAqdroid
                     -
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 91 of 105




                        E xhib it 16
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 92 of 105




    From :Gustavo <nescam illa@ vm ailxcom >
    Subject:Re:Re;Ecow in'uncontested m otion defaultjudgment
    Date:M arch 28,2019 at7:30:02 AM PDT
    To:Jonathan Sorkow itz <l'sorkow itz@ niercebainbridnevcom l,John Pierce
    <l
     'pierce@ piercebainbridge.com l,Jim Bainbridge <l  'bainbridnezpiercebainbridqe.com l
    Cc:Carolynn Beck <cbeck@ ni   ercebainbridne.com >,Liza Haw orth <ggilcorpl@ nm ail.com >,
    M arc Kent<kentmarc@gmail.coml
    Reply-To:Gustavo <gescam illa@ vm ail.com >


    Good m orning John,

    W e do notunderstand w hatyou are attem pting to convey orw hy you feelthe need to getupset
    with yourclients John.

    Yourresponses to ourinquiries are sim ply unacceptable.

    You are G reenway Nutrients,Inc'Iead attorney and w hy is itsom ehow okay foryou to be too
    busy to m ake good on yourprom ises,com m unicate, orrespond to yourclient's inquiries about
    the conductofM ike Ryan,James Ryan,orThe Ryan Law G roup,LLC,in ourcase or
    Greenway'questionsasitrelatestothemotionfordefaultjudgmentagainstdefendantEcowin
    Co.LTD?

    Now w e are feeling even m ore abandoned and even m ore confused because we are having a
    very difficulttim e understanding w hatprom pted you to getso upsetorw ith yourcli
                                                                                     ents that
    would warrantyourthreatening to abandon yourclients and w ithdraw as counselofrecord?

    Please provide yourIegalreasoning to yourin w riting behind yourwanting to abandon
    G reenw ay Nutrients,Inc.,and w ithdraw as counselofrecord forrefusing to release
    G reenway Nutrients,lnc.'form erattorneys Jam es Ryan,M ike Ryan,orthe Ryan Law
    G roup,LLC from this Iitlgation.W e wantto know and are asking you to respond without
    getting angry to defensive.

    M oreover,on oraboutSeptem ber5,2018,w hen w e initially served defendantJam es Ryan,
    M ike Ryan,and The Ryan Law G roup,LLC .,Jam es Ryan wrote you and Jonathan and a
    scathing Ietterstating am ongstotherthings,the follow ing untruths below and attached foryour
    convenience.

    ''Your allegation thatm y brother M ichael,m y firm orIeverrepresented Greenway
    Nutrients,Inc,(Greenway)is false.Thatneverhappened.Nordid eeeverreceiveany
    confidentialinform ation from G reenway orany other entity operated by M r.Escam illa.

    ''TheEcowin Gcontract''attached toyourcomplaintisnotsignedbyEcowin.Iam
    inform ing you thatthe allegation thatG reenway had such contractls false.''

    ''Fotldonotandneverwillhaveay evidencetosupportyourclaim thatVegalab
    tortuously interfered with any relatlonship between your clientand Ecowin and /orthatit
    isoreverinfringed on any Greenwaymarkts).
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 93 of 105




    ''TheonetimeImethim inperson >as when he >as in2010 when he >asjustgetting
    ready to startGreenway UniversityiHe walked us through the building thatwould
    becom e its cam pus.The tourIasted about30 m inutes.

    For whatit's Gorlh, M y brother Tom has neverbeen a m em ber orassociate ofm y firm .''

    G reenw ay w as able to im m ediately provide you with evidence to the contrary againstthe Ryan
    brothers as itrelates to the rem aining accused defendant's unlawfulconductthatincludes:

    1.Jam es Ryan Septem ber5.2018,em ailto counsel,

    2. G reenway'initialSeptem ber 14,2018,em ailand evidence folderthatis also attached,

    3.along w i
              th G reenway'January 9,2019,em ailand evidence folder

    Itis equally well-established thatthe courthas the inherentpowerinclude the authority to
    dismiss the claims ordefensesoforentera defaultjudgmentagainsta Iitigantwho engages in
    dishonestconduct,obstructsthediscoveryprocess,abusesthejudicialprocess,orotherwise
    seeks to perpetrate a fraud on the court.

   As a generalrule,a Iitigantis deem ed to have perpetrated a fraud on the courtwhen i  sitcan be
   dem onstrated,clearly and convincingly,thata party has dlsentiently setin m otion som e
   unconscionable schemecalculatedto inte/erewiththejudicialsystem'sabilityimpadiallyto
   adjudicatea matterbyimproperlyinfluencingthe (trieroffact)orunfairlyhamperingthe
   presentationofthe opposingparty'sclaim ordefense.''Cox,706 SO.2dat46(quoting Aoude,
   892 F.2dat1118).
   G reenway Nutrients,Inc'seniorm anagem enthas repeatedly provided counselwith evidence
   thatdefendantJam es Ryan and the Ryan Firm have deliberately m isled and have,in fact,
   continued to com m ita deliberate fraud upon the court.

    W e are once again,respectfull  y requesting thatyou please com m unicate and respond to your
    client's inquiries atyourearliestconvenience.

   Thank you.

    Respectfully subm itted,

    G us
    (818)355-0062
    Liza
    (818)263-6845
     Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 94 of 105




                                   PRO O F O F SERVICE O F DO C UM ENT
Iam overthe age of18 and nota party to this bankruptcy case oradversary proceeding. My business address is:
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1.TO BE SERVED BY THE CO URT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuantto controlling General
Ordersand LBR,theforegoing documentwillbe served bythecoudviaNEF and hyperlinktothe document.On (dale)
                   , Ichecked the CM/ECF docketforthis bankruptcy case oradversaryproceeding and determ ined that
the following persons are on the Electroni
                                         c M ailNotice Listto receive NEF transmission atthe em ailaddressesstated
below :




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2. SERVED BY UNITED STATES MAIL:
On(dale) LJ.-?& -/#            ,Iservedthefollowingpersonsand/orentitiesattheIastknown addressesinthisbankruptcy
case oradversary proceeding by placing a true and correctcopythereofina sealed envelope in the United States mail,
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Ideclare underpenal
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June 2012
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                               UNITED STATES DISTRICT CO URT
                               SOUTHERN DISTRICT O F FLO RIDA
                                 W EST PALM BEACH DIVISIO N
                               Case No.18-cv-81104-BB (BLOOM)

     In re:

     Greenway Nutrients,Inc.,

     a Colorado cornoration         /

     Plaintiff



    Eco w lN co .,LTD.;
    JAM ES D.RYAN;
    M ICHAELJ.RYAN ;
    THE RYAN LAw G no up,LLc.

     Defendants                     /

                              DIRECT TESTIM O NY O F GUSTAVO ESCA M ILLA

              1. M y name is Gustavo Escam illa and Iam one ofGreenway Nutrients,

                 Inc.'(SSGREENW AY'
                                  ')principals and adversely affected pady in this action.

              2. Priorto me and mybusinesspadnerLiza Hawodh,(1dLIZA'')and Greenway
                 engaging attorney John Pierce to representG reenway,m e and Liza

                 personally provided John Pierce w ith evidence thaton oraboutM arch 3,

                 2015,Iwas firstpersonally contacted on behalfofGreenway and then Liza

                 and IIaterm etface to face with federalIaw enforcem entofficials with the

                 United States DepadmentofHomeland Security (d1DHS'')who were referred
                 to me and GreenwaybyAdobe Systems ($'ADOBE'
                                                           ')and The Microsoft
                 Corporation (I.M ICROSOFTM).
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          3. Me and my business partnerLiza,repeatedly provided attorneyts)John M .
              Pierce,JonathanA.Sorkowitz,as wellas Ronald Niconson,with evidence

              thatDHS officials had previously advised m e and G reenway thatdefendants

              David Dragan Selakovic (''SELAKOVIC')and StevenBlackburn
              (''BLACKBURND),and otherscloselyaffiliated with Selakovicand Blackburn,
              were the primary targets ofa m assive ongoing federalcrim inalinvestigation

              surrounding the unlaM ultheft,m anufacturing,and distribution ofseveral

              billion dollars wodh ofcounterfeit,grey market,orunauthorized versions of

              Adobe',M icrosoft'and now G reenway'brand nam e products illegally bearing

              each ofthe aforem entioned com panies valid US tradem arks.

          4. Ipersonally provided John Pierce DHS officialsw ere in possession ofm ore

              thanfi
                   ftythousand (50,000)emailsthatpotentially contained crucialemail
              records centralGreenway'case thatAdobe System s had turned overto

              DHS afterAdobe Systems,inconjunction with US FederalMarshall's,raided
              severalofDavid Selakovic'W estPalm Beach,Florida area warehouse

              facilities thatG reenway'attorneys failed to investigate orfollow up on.

          5. Me and my business padnerLiza,repeatedly provided attorneyls)JohnM .
              Pierce,Jonathan A.Sorkowitz,as wellas Ronald Niconson,with evidence

              dem onstrating thaton oraboutM arch 8,2017,thatIpersonally becam e

              aware ofand Iatershared w ith Liza thatG reenway'form erattorneys M ichael

              J.Ryan,and IaterJam es D.Ryan had taken partin interfering with

              Greenway'exclusive distribution agreem entw i
                                                          th Ecowin,w hile taking an

              unlawfulstock ow nership position in Vegalab,Inc,in directviolation of
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              Greenway'non-disclosure /non-circumventagreementthatM ike Ryan had

              taken partdrafting and preparing on behalfofGreenw ay and Eric Hanson

              who wasrepresenting Vegalab,Inc.(then HPC Acquisitions,Inc,IIHPC'')at
              thattim e.

          6. O n oraboutM arch 5,2017,G reenway'attorney Jonathan Sorkowitz sent

              myselfan em ailforreasons stillyetto be explained to m e ormy business

              partners,advising m e and Liza thatifG reenway did notagree to

              im m ediately release defendants Jam es Ryan,M ike Ryan,and The Ryan

              Firm from this action thatGreenway'attorneysw ould be inexplicably

              notifying this coud ofGreenway'attorneys intentions to withdrawalas
              counselofrecord on behalfofGreenway.

          7. O n M arch,7,2019,M yselfand Liza Haw orth m etw ith face to face with

              attorney John Pierce w ho is G reenw ay'lead attorney and original

              contactw ith Pierce Bainbridge in ourcase.

          8. Dudœ ourMarch,7,2019,re trv JohnPbrœ nevertœ kthedrre to explaine yrre or

              Lèa shouu lM rm uire to reb.1tm Ja-   Ryan,Mike Ryan,orthe Ryan Law Group,LLC

              from telau uteventoœ htheœ urthasrue inGœ nwa/favor.
          9. John Pbrœ prtxaxe toexpl
                                    ainto rte and Lka 1atKGrœ nvayK u: œ nse r

              enteM ining r> iblyrebasiœ Y fendae Jaru Ryan,Me aelRyan,andR e Ryan

              1.- Group,LLC.,frm ME Ku utMatPbrœ Bai
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              uv miœ unœ nteste rrrtbnforY fauljudgerrentœ ainstEcY n,Co.LTD.
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          10.O n oraboutMarch 12,2019,Pierce Bainbridge attorney Jonathan A.

             Sorkow itz,Iaterinform ed m yselfand Liza thatPierce Bainbridge would be

             unable to provide G reenway w ith an expertw itness due to the coud not

             allow ing G reenway am ple tim e to hire and prepare an expertw itness report

             on behalfofthe com pany to establish G reenway Iosses againstDefendant

             Ecow in.

          11.From on oraboutM arch 14,2019,through M arch 28,2019,m yselfand Liza

             Haworth repeatedly attem pted to inquire w ith Greenway'Iead attorney John

             Pierce and Pierce Bainbridge attorney Jonathan Sorkowitz as to whatdid

             Plaintiff's counselintend on subm itting to the courtspecifically pertaining to

             Greenway'uncontested motionfordefaultjudgementagainstEcowin.

          12.O n oraboutMarch 27,2019,lpersonally advised G reenway attorneys John

             Pieerce,Jonathan Sorkowitz,w ho should have properly advised attorney

             Ronald Nicosnson,thatG reenway would NOT AG REE TO CONSENT to

             Greenway attorneys abandoning G reenway and requested thatG reenway'

             attorneys ask this coud to conductan evidentiary hearing so thatm e,Liza,

             orGreenw ay,would have been able to m ake yourHonoraw are ofJames

             Ryan',M ike Ryan'and The Ryan Firm highly unethicalm isconductthathas

             perm eated these entire proceedings.


          13.O n oraboutMarch 29,2019,G reenway'attorneys filed theirm otion to
             wi
              thdraw as counselofrecord on behalfofGreenway neverexplaining their
             Iegalreasoning orbasis forrequiring the m e,Liza,and Greenway to release
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 99 of 105




             Defendants Jam es Ryan,M ike Ryan,and The Ryan Firm from this action
             thathas Ieftm e very confused,bew ildered,ba#led as to w hy.



          Executed atGlendale,California,April16,2019. ldeclare underpenalty of

          perjury thatthe foregoing istrue and correct.



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                                               /s/G ustavo Escam ill        -        -

                                                  Gustavo Escam ilja
                                                 April16,2019
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT O F FLO RIDA
                                  W EST PALM BEAC H DIVISIO N
                                Case No.18-cv-81104-BB (BLOOM)

     In re :

     G reenway Nutrients,lnc.,

     a Colorado corporation         /

     Plaintiff

     V.

    ECOW IN CO .,LTD.;
    JAM ES D.RYAN ;
    M ICHAEL J.RYAN;
    THE RYAN LAW G RO UP,LLC .

     Defendants                     /

                              DIRECT TESTIMO NY O F LIZA HAW O RTH

                  M y nam e is Liza Hawodh and Iam directly fam iliarand hand firsthand

                  knowledge ofthe eventsthathave taken place aIIthroughoutGreenway

                  Nutrients,lnc.'(''GREENW AY'')proceedings in question..

               2. Priorto me and my business partnerGustavo Escamila,(I
                                                                      'GUSTAVO'')and
                  Greenway engaging attorney John Pierce to representG reenway,m e and

                  Gustavo personally provided John Pierce with evidence thaton orabout

                  March 3,2015,G ustavo was firstpersonally contacted on behalfof

                  Greenway and then G ustavo and IIaterm etface to face with federalIaw

                  enforcem entofficials with the United States Depadm entofHom eland
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              Security (uDHS'')whowere referred to me and GreenwaybyAdobe Systems
              (''ADOBE'
                      ')and The MicrosoftCorporation (''M ICROSOFTD).

           3. Me and my business padnerGus,repeatedly provided attorneyts)John M.
              Pierce,JonathanA.Sorkowitz,as wellas Ronald Niconson,with evidence

              thatDHS officials had previously advised m e and G reenway thatdefendants

              David Dragan Selakovic (ISELAKOVIC'')and Steven Blackburn
              (''BLACKBURN''),and others closelya#iliated with Selakovicand Blackburn,
              were the primary targets ofa m assive ongoing federalcrim inalinvestigation

              surrounding the unlawfultheft,m anufacturing,and distribution ofseveral

              billion dollars wodh ofcountedeit,grey market,orunauthorized versions of

              Adobe',M icrosoft'and now G reenway'brand nam e products illegally bearing

              each ofthe aforem entioned com panies valid US tradem arks.

           4. Iwas copied on num erous em ailproviding G reenway'attorney John Pierce

              w ith evidence thatDHS officials were in possession ofm ore than fifty

              thousand (50,000)emailsthatpotentially contained crucialemailrecords
              centralG reenway'case thatAdobe System s had turned overto DHS after

              Adobe Systems,inconjunctionwith US FederalMarshall's,raided severalof
              David Selakovic'W estPalm Beach,Florida area w arehouse facilities that

              Greenw ay'attorneys failed to investigate orfollow up on.

           5. Me and mybusiness padnerGustavo,repeatedlyprovided attorneyts)John
              M .Pierce,Jonathan A.Sorkowitz,as wellas Ronald Niconson,with

              evidence demonstrating thaton oraboutM arch 8,2017,thatG ustavo first
              becam e aware ofand Iatershared with m e thatG reenway'form erattorneys
Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 102 of 105




              M ichaelJ.Ryan,and IaterJam es D.Ryan had taken partin interfering with

              G reenway'exclusive distribution agreementw ith Ecowin,while taking an

              unlawfulstock ownership position in Vegalab,Inc,in directviolation of

              G reenway'non-disclosure /non-circum ventagreem entthatM ike Ryan had

             taken pad drafting and preparing on behalfofG reenway and Eric Hanson

              whowas representing Vegalab,Inc.(then HPC Acquisitions,Inc,I'HPC'')at
              thattim e.

          6. O n oraboutMarch 5,2017,Greenway'attorney Jonathan Sorkowitz sent

              G ustavo and Iaterm e an em ailforreasons stillyetto be explained to me or

              G ustavo,advising m e and Gustavo thatifGreenw ay did notagree to

              im m ediately release defendants Jam es Ryan,M ike Ryan,and The Ryan

              Firm from this action thatGreenway'attorneys would be inexplicably

              notifying this courtofGreenway'attorneys intentions to withdrawalas

              counselofrecord on behalfofGreenway.

              O n March,7,2019,m e and G ustavo m etw ith face to face w ith attorney

              John Pierce w ho is G reenw ay'Iead attorney and originalcontactwith

              Pierce Bainbridge in ourcase.

          8. Dudng ourMarch,7,2019,rre tœ John Pbrœ nevertA the tc toexpl
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              LLC from thebu utevenMoughtheœ urthasrue inGœ nwa/favor.
          9. JohnPbrœ prrm :a vlto expKinto rre and GusKvo that;Ge nvayK ub œ nsG r

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              t.- Group,L.LC.,from Mi
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Case 9:18-cv-81104-BB Document 102 Entered on FLSD Docket 04/18/2019 Page 103 of 105




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           10.O n oraboutM arch 12,2019,Pierce Bainbridge attorney Jonathan A.

              Sorkowitz,Iaterinform ed m yselfand Gustavo thatPierce Bainbridge would

              be unable to provide Greenway with an exped witness due to the courtnot

              allowing Greenway am ple time to hire and prepare an expertwitness report

              on behalfofthe com pany to establish Greenway Iosses againstDefendant

              Ecowin.

           11.From on oraboutM arch 14,2019,through M arch 28,2019,m yselfand

              G ustavo repeatedly attem pted to inquire with G reenway'Iead attorney John

              Pierce and Pierce Bainbridge attorney Jonathan Sorkow itz as to whatdid

              Plaintifrs counselintend on subm itting to the coud specifically pedaining to

              Greenway'uncontested motionfordefaultjudgementagainstEcowin.

           12.O n oraboutM arch 27,2019,Iw as personally copied on an em ailadvising

              G reenway attorneys John Pieerce,Jonathan Sorkow itz,who should have

              properly advised attorney Ronaîd Nicosnson,thatGreenway would NOT

              AG REE TO CONSENT to G reenway attorneys abandoning Greenway and

              requested thatG reenway'attorneys ask this courtto conductan evidentiary

              hearing so thatm e,Gustavo,orG reenway,would have been able to m ake

              yourHonoraware ofJames Ryan',M ike Ryan'and The Ryan Firm highly

              unethicalm isconductthathas permeated these entire proceedings.


           13.On oraboutMarch 29,2019,G reenway'attorneys filed theirmotion to
              withdraw as counselofrecord on behalfofG reenway neverexplaining their
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               Iegalreasoning orbasis forrequiring the me,Gustavo,and G reenway to
               release Defendants Jam es Ryan,M ike Ryan,and The Ryan Firm from this
               action thathas Ieftm e very confused,bewildered,baffled as to w hy.



     Executed atG lendale,California,April16,2019. ldecl
                                                       are underpenalty ofperjury
     thatthe foregoing is true and correct.




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                                                 /s/Liza Haworth

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                                                   April16,2019
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